ROBERT EARL MARTIN
REG. NO. 39869-066
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FEDERAL CORR. INSTITUTION
P.O. BOX 1500
BUTNER, NC 27509
June Ag, 2021

 

Ms. Kate Barkman

Clerk of Court

U.S. District Court

Eastern District of Pennsylvania
Philadelphia Division

601 Market Street, Room 2609
Philadelphia, PA 19106-1729

RE: Martin v. United States
Crim No. 2:98-cr-00178-MAK-1

Dear Ms. Barkman:
Enclosed please find and accept for filing Movant’s Motion for Compassionate

Release/Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) and the First
Step Act of 2018. Please submit this document to the Court.

 

Thank you for your assistance in this matter.

ECEIVE

Sincerely, i
~6 2021 |
pty

 

 

 

 

 

ROBERT EARL MARTIN
Appearing Pro Se

Encl. as noted
a UNITED § STATES OF AMERICA,

_IN THE UNITED STATES DISTRICT COURT
_ FORTHE : EASTERN DISTRICT. OF PENNSYLVANIA
: ROBERT EARL MARTIN,
| Movant oe

| | Respondent.

an “MOTION F OR COMPASSIONATE RELEASE/REDUCTION IN SEN TEN CE.
of PURSUANT 10 18 U. S. c § 3582(C)IN(A) é AND. THE FIRST STEP ACT OF 2018

COMES Movant, ROBERT EARL MARTIN (Martin, appearing pro Se, ,and i in support :
of this motion n would show as s follows, -
I JU RISDICTION

The district court's juiaditont to correct or or modi a defendant's sentence is limited to those oe

 

 

 

~-CRNo. 2:98-cr-00178-MAK-1 0

specific circumstances enumerated by Congress 3 in 18 U, 8. C, § 3582. The scope of a Proceeding oa

| under 18 U. S. C. 8 3582(012)| in cases like this one is extremely limited, Dillon Vv. United States, 130 me

OS. Ct. 2683, 2687(2010). It is black- letter law that a federal court generally “ny not modify a term oO - oe }

oft imprisonment once it has been imposed Id However, Congres has al llowed an exception to that a

‘ule “in the case of a defendant who has been sentenced to a term of imprisonment based ¢ on a .

. sentencing range tl that has subsequently been lowered by the Sentencing Commission. ” 18 U. S. C. 7 a

, . 3582()(2) see also, Fr eeman V. United States, 13 S. Ct. 2685 (201 1) (ectng standard for sentence a

modifications). Such defendants are entitled to move for retroactive modification of their sentences.

a Dillon, 130 s, Ct. at 2690-91.
 

Th STATEMENT OF THECASE

A Procedural Back: round —

On April 7 7, 1998, a grand ju jury sitting i in the United States District Court for the Eastern - .

District of Pennsyivania, Philadelphia Division, returned a two 002) count Indictment chasing Martin Ao

= See Doc. 10. ) Count. 1 charged Martin with Armed Bank Robbery, i in » violation of 18 U. . c 5 / oh as

21 13) Id. Count 2 2 charged Martin n with Using of a Firearm in Furtherance of a Crime of Violence, on |

inv violation of 18 U. s C. § 924(0). a.

 

On May 28, 1998, the United States filed an » Information a charging prior + offenses to establish " | os

- . pea of mandatory life imprisonment, pursuant 18 U, s. c, 8 3559(0) See Doe 15.

 

 

 

“On fuly. 1, 1998, Martin was. found guilty of both counts sy a jury rial before Honorable 7 a .

Norma L Shapiro, See Does. 28, 29,

On August. 1, 2001, Martin was s sentenced to a total term of Life imprisonment, 3 years

: supervised release, $6,694. 001 in Restitution, and a Mandatory Special Assessment Fee of $200. See - _

| Does 83, 84.
B. : ‘Statement of the Relevant Facts . i me
Sy. - "Offense Conduct oe

oO ‘On March 6, 1998, at approximately 12: 40 p.m., | there was a robbery of the United
Bank branch located at 280-West Girard Avenue, Philadelphia, PA. ‘The United
~... Bank’s deposits are insured by the Federal Deposit Insurance Corporation. (FDIC).
An the March 6 robbery, a black male entered the United Bank alone, carrying a
sawed- off. double-barreled shotgun. The robber was wearing a green. baseball cap,a
. blue hooded zip-up. sweatshirt, blue jeans, and tan work boots. 7

 

- “Doc,” refers to the Docket Report in the United States District Court for the Eastern District of Pennsylvania,
. Philadelphia Division in Criminal No. 2:98-cr-00178-MAK-1, which is immediately followed by the Docket Entry
Number, “PSR”. refers | to the Presentence Report 1 in this ¢ case, which is immediately 1 followed by the paragraph c Tt ):
number. a : ; ce
 

 

The robber approached an unarmed female bank guard who was standing in the bank
lobby and announced that this was a bank robbery. He placed the sawed-off shotgun
- next to her head and demanded that he be let into the teller area. The teller areais
. separated from the bank lobby by two locked doors, both of which can be entered o
- from the bank lobby side only. by use of a buzzer system, Cee: a

ao At first, the guard pushed the shotgun barrel z away from her head. The robber hit her
- nthe head. with the shotgun, and told her that he was not joking, he would shoot her. ae
_.... ‘The robber told bank personnel in the teller area that he would blow the re guard s head
a Off they did not fet hi in. pan os ae oe

 

“os A customer service representative buzzed the robber through the two locked doors, os
~. into the teller area. The robber held the sawed-off shotgun on the bank guardashe
_. came in. Once inside the teller area, the robber shoved the bank guard onto the floor .. 0°.
and opened a cash drawer, removing approximately $6,694 in United States currency.
- -Therobber held the shotgun on the: customer service representative while he rifled the
. cash drawer. a :

. T he robber left the bank, stuffing the: money into » his sweatshirt pockets. as s he left. He
7 escaped on foot, running eastbound c on West Girard Avenue and north on 28th Street.

‘After the robbery, FBI agents interviewed a bank teller from whose drawer the robber

had taken the money. She was present during the robbery, standing in the teller area

'” when the robber took the money from her drawer. | In describing robber, she stated
> that he e struggled ~-when he walked.

co A series sof surveillance photographs depicting the robber were obtained from United .
--- Bank. They show a man wearing a baseball cap, zip-up sweatshirt, blue jeans and
- . work boots, In several pictures, the robber can be seen standing 1 in a‘ ‘Pigeon -toed”
/ manner, that i is, with his toes *s facing inward. Pee es

. Philadelphia P Police Department officers showed surveillance photographstoawoman .
-. who lives in the area of the bank. She stated that she knew the man in the photos, as
_ “Rob,” She told the officers that “Rob” worked at a barber shop at 25th and Master —
- Streets, Officers went to the barber shop and determined that the person known to her -
as “Rob” was named Robert Earl Martin. Martin was taken into custody by the .
_ officers ona local bench warrant for failure t to appear on charges of theft and unlawéul aa
. taking. so a Ce

‘See PSR 4 7-14.
2. | Teal Processing

: Three bank employees testified at rial and positively identified him as. s the Person. who Ce
i committed the bank robbery. See PSR uy 15, On July 1 \, 1998, a a jury found Martin guilty on n both -
counts. See Does, 28, 28. The c case was s refered to the Probation Office for the preparation of the _ wd 5 &

a vB, ; " Presentence Report Caleulations and Recommendations. .

On March 6, 2000, the Probation Once prepared Martin’ s PSR, using the 1998 edition of a
- the Guidelines Manual Count |: ‘Armed <A Bank Robbery cals for a Base Offense Level of 20, pursuant oe
to to U. 8. s, G. § 2B3. L See PSR 1 21. Two ® levels were added for taking property. of a financial

Jnsttution, pursuant to. U.S. s. G. § 2B3. 1x0). See PSR 12 22. The PSR calculated Martin’ s Total a

offense Level to be level 22. See PSR 4 30, Martin’ S total criminal history points of 5, placed hi bien in :

| Criminal History Category Ill. See PSR 13 36. Based upon a a Total Offense Level of 22 anda Criminal
. History Category of. IH, the guideline range for imprisonment was ot to 63. months to be followed
- by 240 months consecutive term. However, based on the provisions of 18 U. S.C. § 3555(0) the,

. wvideine sentence is life. 6 SGL, 1(). See PSR 4S 60,

: 4 Sentencing Proceeding - -

a Prior to sentencing, the United States sought life imprisonment under section 3559(0), known ls
as the “three strikes” statute, based ¢ on his 1974 conviction for second- degree murder and the 1988

o conviction for carrying a. firearm in relation t to othe bank robbery and armed bank robbery. -

- On | August 1, 2001, a Sentencing Hearing w was held before edudge NormaL. Shapiro. See] Doe.

83. T he Court adopted the PSRa as its own mands sentence Martin t to a ‘total t term of Lif imprisonment, o 7

followed py 3 years of supervised release See Doc 84. - The Court also ordered p payment of 56, 604. 00

 

 

 
in 1 Restitution and a Mandatory special Assessinent Fe ee of $200. ld A finely Notice eof Appeal v was
filed o on n August 2, 2001. See Doc. 86,
- 3. oo - Appellate Proceeding a a : - a

“On Appeal, Martin makes two arguments first, that the prosecutor denied hs right to. due . os

or process and a fair tral by stating her beliek regarding the evidence and inigcharaterizng the oe

| ; testimony of the photographic evidence expert second, that under pr endi ¥. NewJer sey, 530U. s. ee

466 (2000), the government was asrequired to prove ehis two prior violent felony convictions to the} jury . on foe

o beyond a reasonable doubt i in order for the’ ‘three strikes” eee life sentence to apply. § See :

| United States ¥. Martin, 46 Fed, Appx 119 (38 Cir. 2002) : |

2 . 6 6, ‘PostconitioProseeding | . 7

On March il, 2004, Martin filed a Motion under 28 U. S. C. 4 2255 to Vacate, Set Aside or 7
Correct Sentence by a Person i in Federal Custody (“§ 2255 Motion”), arguing that his trial counsel

committed three errors that violate an objective Standard < of reasonableness, and these errors

 

 

| individually and cumulatively resulted in n prejudice s sufficient to undermine confidence i in the outcome 7 |

of bis trial. See Doc. 92. On » May 17, 2005, the Court issued an Order denying Martin’s 8 2255

“Motion See Doc. 106.

 

On January 6, 2020, Martin filed a ag 2255 Motion, nthoush the Federal Defender, argued the. a

7 Supreme C Court in Johnson invalidated the residual clause definition of serious s violent felony” in

m the three- strikes statute, 18 U, S.C. § 3559, and “crime of violence” in ACCA, 4 524(0K3).,

. On May 10, 2018, the United States Court of Appeals for the Third Circuit No. 16- 2623,

| os denied Martin’ S application under 28 U. S. C. 88 2244 and 2255 t to file a ‘second or successive °§ 2255. :

. motion. The Court of “Appeals found “[elven if those residual clause definitions were invalid under oe
Johnson, however, | Martin] has not made a prima facie showing that his convictions of armed bank

o robbery under 18 U.S.C. § 2113(d) would not remain ‘serious violent felonies’ or ‘crimes of violence’ oe

under the ‘elements clause’ definitions contained in those statutes.” On February 28, 2020, after the --

 

 

mandate from the Third Ciroutt Court tof Appeals, denied N Martin leave to file ase second or successive 4 © op as :

| oS petition, th District Court denied Martin’ $ § 2255 motion and declined to issue a certificate of a

sppeaabiy cos”), See Doe. 137.

On June 8, 2020, Martin filed a an Apptcation for COA (after i his request for an extension 1 of . | : . ere

time to o file application for COA was s granted), which the Third Circuit denied on n September 5, 2020. ee

On September 25, 2020, Martin fied a Petition for Rehearing En Banc and before Original Panel. On -
November 2, 2020, the Third Circuit denied his petition,
sie I. DISCUSSION

Asa preliminary matter, Martin respectfully requests that this Court be mindful that pro se. .

| complaints are to be held “to less stringent standards than formal pleadings drafted by lawyers,” and

7 | should therefore be liberally construed. See Higgs v. Attorney Gen. of The United Slates, 655 F. 3d

 

| 333 G" Cir. 2011); Estelle yy - Gamble, 429 U. S. 97 (1976y(same and Haines y, Kerner, 404 U. S. 7
5 19 (3972)(same).

- A . “Federal Courts Have the Jurisdiction and Power to Reduce, An Existing | ot
“Sentence os oa a

/ This Court has the power t to adjust N Martin's sentence. District courts f ho longer need a motion -

from the Bureau of Prisons | to resentence a federal prisoner, under t the. compassionate release oe

_ provisions of | 18 US. C. s3582(0(1 AN. A district court may now resentence if the inmate files a A we

motion afer exhausting administrative remedies The reasons s that, can justify resentencing a are pot a
 

limited to medical, age, or family circumstances. A district court may resentence if the inmate ~ .
demonstrates extraordinary and compelling reasons for a sentence reduction. Such reasons are present
in this.case.

1 Historical Framework

- Congres first enacted the compassionate release provisions in 18 U, s. C. 63582 as spart of the oS : : |

. Comprehensive C Crime Control Act of 1984, T hat legislation provided that a district court could

oe modify a final term of imprisonment when esterday and 4 compeling reasons. warrant such a ao

reduction 18 U, S. ¢ 5 S290 AND. In 1984, this provision was : conitione « on the Bureau of oe

Prisons (BoP) sling a ‘motion in nthe sentencing court. Absent a | motion by the BOP, a sentencing oe 7

court had r no inaction to oct an inmate’ S s sentence. Congres did not define what constitutes
an “extraordinary. and compelling reason, ” but the legislative history recognized that the statute was
intended, in part, to abolish and replace federal parole, Rather than have the parole board review for
rehabilitation only, Congress authorized review. for changed circumstances.
- The Committee believes that there may / be unusual cases, in which an eventual
reduction inthe length of a term of imprisonment jis justified by changed =.
- ‘circumstances. These would include cases of severe illness, cases in which other
\. extraordinary and compelling circumstances justify a reduction of an unusually long
~~ ‘sentence, and some cases in which the sentencing guidelines for the offense of which -
- - the defender was convicted have been later amended to provide a shorter term on
imprisonment. 8, Rep.) No. 98- 225 2 at 55- 36 6 (1983). oe
18 US. C. §3 582 acts 2 as a “safety valve” for the * ‘modification of sentences” that would 7
: previously have been addressed through the former parole system, Id. at 121. The f provision was
“intended “to. assure e the evallabilty of specific review, and. reduction of a term of imprisonment for :
- “extraordinary a and compelling reasons’ * and {would 3 allow courts] to > respond to changes. in the. |

: guidelines.” » Id ‘Thus, sentencing courts have the power to modify sentences for extraordinary and o

compelling reasons.
 

2: - Section 3582(c)(1(A)_ is Not Limited to Medical, Elderly o
- Childcare Circumstances we : oe oa

~ Congress initially delegated the responsibilty for determining w what constitutes’ ‘extraordinary an

eo and compeling reasons” to the United States Sentencing Commission. 28 U s, C 8 994() 0) (The . +

Commission. shal describe what should be considered “extraordinary and compelling reasons’ for Boy Ese

a sentence reduction, including the criteria to be applied and a list of specific examples.” Congress a

a provided | one imitation t to. that autos “ltabtaion of the defendant alone shall not be : a

 

| - considered an extraordinary and compeling reason, » 28 U. S. C 3 99400 Rehabilitation could, oe

however, be. considered with other reasons to justi a reduction.
‘In 2007, the Sentencing Commission defined ‘extraordinary and compelling reasons”. as
follows:

(A) _ Extraordinary and Compelling Reasons - Provided the defendant meets the
"requirements of subdivision (2), extraordinary and compelling reasons exist
: under any of the following circumstances:

@ “The defendant i is suffering from a terminal illness.

(i) - The defendant is suffering from a permanent physical or medical
‘condition, or is experiencing deteriorating physical or mental health
because of the aging process, that substantially diminishes the ability
of the. defendant to provide self care ‘within the environment of a

correctional facility and for which conventional treatment promises nO

= substantial improvement. os
Git) . The death or incapacitation of the. defendant’ s only family member a
. capable of caring for the defendant’ s minor child or minor children. ~
(iv) . As determined by the Director of the Bureau of Prisons, there exists ao
Lo -in the defendant’s case an extraordinary and compelling reason for
: purposes of subdivision (1)(A). USSG SBI. 13, Application Note I.

As we ew see, e, with the passage eof The First Step Act subparagraph (yi is no Tonge limited

7 by what the BOP decides i is extraordinary a and compeling.
 

_Uistoriealy, the BOP rarely filed n motions under §3582(c)(1(A), even when the inmates met. RS

the objective criteria for modification, see U. s Dep t of Justice Office of the Inspector General The - a

Federal Bureau of Prisons Compassionate Release Program (Apr. 2013), The Office of the Inpector : . |

| General also found that the BOP failed to o provide adequate guidance t to sta on » the criteria for -

| compassionate release, filed t to set time lines for review fof compassionate release requests, fail ed te to

 

 

a ‘create formal procedures for informing prisoners about compassionate release, and failed to generate . es

| a oon for tracking compassionate reas request, ld ati “IV. a
| Congress heard those complaints and i in slate 2018 enacted The he Fist Step A Act. :
| 3. ~The Kirst Step Act - - oS ee | |
The First Step Act, PLL. ‘115- 391, 132 Stat 5194, at t Dee.2 21, 2018), among s other tings,
teansfomed the process f for compassionate release. Id. at 3603, Now, instead of depending upon the
BOP to determine an inmate’ s eligibility for extraordinary and compelling reasons and the filing of |
a motion by the BOP, a court « can resentence * ‘upon motion of the defendant. "A defendant c can file |
/ an enproprate motion if the he or 1 she has exhausted all sisratve rem or “the lapse of 30 -

oe days f from the receipt of such a request by the warden of the defendant’ S sfacihty, whichever | is earlier.”

18 u. S, Cc. 3 *BAC)CT (A), The purpose: and ofect of this provision is to > give federal courts sthe ability . |

~ to hear and resentence a defendant ¢ even in the absence of a | BOP motion. Congress labeled this oy

. change “Increasing the Use and Transparency of Compassionate Release. » "164 Cong. Ree. H10346,

#110358 (2018), Senator Cardin noted in the record that the bill “expands compassionate r release

. - undert the Second Chance Act and expedite compassionate release applications.” ” 164 Cong. R. 199 Don o

| a at 7774 (ee. 18, 2018) dn the House, Representative Nadler noted that the First Step Act includes a . a vo

. “a number of very y positive changes, such as. improving z application, of compassionate roease, and SSE

1
providing other measures to improve the welfare of federal inmates.” 164 Cong. R.H10346-04 (Dec.
20, 2018).

“Once an inmate has pursued administrative remedies through the BOP, upon his or her oe

 

 

motion, the sentencing court has juisdition and ‘the authority to reduce a “sentence if it finds Oe EE

; “euroriny and dcompeltng reasons” to varant a reduction J udica authority is no o longer limited
; toce cases that have the approval o of the BOP. - | | ae , |
os - 4 - - Martin Has Exhausted Administrative Remedies ue -

A motion by a an inmate can be filed i in ‘the distrit court after « the i inmate has made the .
= to the Warden, and 1@) chert the request esd denied or r30 days have lapsed from 1 the rece .
| of the request, whichever is sooner. First 1 Step Act of 2018, section 803(b), Pub. L No. 115- 391, 132 |
Stat. 5194, 5239 (2018),

| On. November 13, 2020, Martin filed a request for compassionate release to D. Leu, Warden, .
FCI Butner Il, North Carolina, which 5 was s denied on November 19, 2020. See Exhibit 1 Because the ie

- BOP failed to file a motion ¢ on ) Martin’ s behalf, exhaustion of administrative remedies: is not an issue

- ‘int this case. See 18 U. s. c. § BS82(0)(IKA)._

 

BB. ‘Martin’ $ Current Conditions of Confinement and Health Conditions

- Martin, age 61, sulfers from incurable, progressive disease, from which Martin will never - —_

i. recover, to wit: cardiomyopathy, pulmonary hypertension, Adislipidemia, hypertension, chronic oe

obstructive pulmonary disease (COPD) history of dysttimi, asthma, and obesity? ‘See Exhibit Lh

 

. Cardiomyopathy, Cardiomyopathy is a general term for diseases of the heart muscle. Depending on the type
of cardiomyopathy you have, the condition may cause your heart muscle to become enlarged, rigid, thick or thin, In

-rare cases, the normal muscle tissue of the heart is replaced with scar tissue. Over time, cardiomyopathy can weaken ~. =
:.- the heart, negatively affecting its ability to maintain a normal electric rhythm and/or pump enough blood to the body.

- This can lead to a variety of is issues and complications, including arrhythmias, heart valve problems, and | even heart :
- failure.
. » "Dyslipidemia. Dy slipidemia i is a high level of lipids (cholesterol, triglycerides, or both) ora tow. high- density
lipoprotein (ADL) « cholesterol ley el. Lifestyle, genetics. disorders (such a as low thyroid hormone levels or kidney

ane
2. . 7 Signs, Symptoms and Potential Complications

“In the early stages of cardiomyopathy, you may not experience any signs or symptoms, but
as the condition advances, signs and symptoms of heart failure usually appear, including:

ms Shortness of breath (dyspnea) -
~s.-- Chronic coughing or wheezing _
~/e.-\ Rapid or irregular heart rate |
+ Build-up of fluid and swelling (edema)
Nausea or-lack. of appetite eee
_ #2 °. Fatigue or feeling light-headed >
ae ‘Confusion or impaired thinking.

covip: 19 has infected hundreds of prisoners ‘and staf in ity ns state e prisons sand federal -

a prisons.

“New York, California and Ohio w were among the first to release incarcerated people Other oo

states have followed, saying zit is the only wayt to o protect prisoners, correctional workers, theit families

‘and the broader community.

 

disease), drugs, or a combination can contribute.

- “Hypertension. Hypertension is another. name for high blood pressure. It can lead to severe health
complications and increase the risk of heart disease, stroke, and sometimes death, Blood pressure is the force that a
person’s blood exerts against.the walls.of their blood vessels. This pressure depends on the resistance of the blood

_ . yessels and how hard the heart has to work, Hypertension is a primary risk factor for cardiovascular disease, including
. Stroke, heart attack, heart failure, and aneurysm. Keeping blood Pressure u under contro! i is vital for preserving h health
and reducing the risk of these dangerous conditions. a
Obesity. Obesity is a complex disease involving an excessive amount of body fat. Obesity isn’t just a cosmetic
‘concern, It is a medical problem that increases your risk of other diseases and health problems, such as heart disease,

diabetes, high blood pressure and certain cancers. Obesity is diagnosed when your body mass index (BMI) is 30 or

- | higher. To determine your body imass index, divide your weight in pounds by your height i in inches Squared and 7
oO multiply by 703. Or divide your weight in kilograms by your height in meters squared. ,
. : + Asthma. Asthma is a long-term disease of the lungs. You might hear your doctor call ita chronic respiratory a

disease. It causes your airways to get inflamed, narrow and swell, and produce extra mucus. This can make breathing .

. difficult and trigger coughing, wheezing, shortness of breath, and chest tightness are classic asthma symptoms. Asthma

_-- attacks can be fatal. A severe asthma attack can prevent you from getting enough oxygen into your lungs and ¢ can even.

stop your breathing. Therefore, severe asthma attack requires emergency medical attention.
Chronic Obstructive Pulmonary Disease. Chronic obstructive pulmonary disease, commonly referred toa as

‘COPD, is. a group of progressive lung diseases. The most common are emphysema and chronic bronchitis. Many people
- with COPD have both of these conditions. Emphysema slowly destroys air sacs in your lungs, which interferes with
| Outward air flow. Bronchitis causes inflammation and narrowing of the bronchial tubes, which allows mucus to build
“up. : ; Z . oo
= There’ $ no cure for COPD, but treatment can help ease se symptoms, lower the chance of complications, and generally
_ | improve quality of life. Medications, supplemental oxygen therapy, and surgery are some forms of treatment. Untreated,
Do COPD can. lead to a faster progression of disease, heart problems, and worsening respiratory infections. pee

 

 

 
 

Jails and prisons often lack basic hygiene products, have minimal health care services and are
overcrowded. Social distancing is nearly impossible except in solitary confinement, but that poses its
own dangers to mental and physical health.

While there is absolutely no evidence to support that any person is more or less likely to be
infected [with COVID-19] based on existing medical conditions, Martin’s argues that, first, prisoners
experience exponentially higher rates of COVID-19 than the general population. As of June 2020,
“(t]he COVID-19 case rate for prisoners was 5.5 times higher than the US population case rate.”
Second, and more critically, older individuals and individuals with chronic medical conditions are at
greater risk of hospitalization and death from COVID-19. For example, the CDC reports that persons
aged 40 to 49 are 15 times more likely to be hospitalized and 130 times more likely to die from
COVID-19 compared to persons aged 18 to 29 and younger.’ In other words, Martin does not only
contend that his health conditions increase his risk of getting COVID-19; but also, he contends that
those conditions greatly increase the risk that, ifcontracted, his COVID-19 infection would be severe
or even deadly.

BOP Amid Covid-19

One consequence of overcrowding is that prison officials have a difficult time providing
adequate health care.

In 2011 the U.S. Supreme Court ruled that overcrowding undermined health care in

 

3

Brendan Saloner, ef a/., COVID-19 Cases and Deaths in Federal and State Prisons, J. ofthe Am. Med. Ass'n
(July 8, 2020), https://jamanetwork.com/journals/jama/fullarticle/2 768249.
4

Hospitalizations & Death by Age, CTRS. FOR DISEASE CONTROL & PREVENTION,
https:/Awww.cde.gov/coronavirus/20 19-ncoy/covid-data/investigations-discovery/hospitalization-death-by-age. html (last
updated May 14, 2021).

13
 

. California’ s prisons, causing avoidable deaths. The c justices upheld a lower court’ $ nding that this ce oo

caused an “unconscionable degree of suferin” in violation of the Bighth Amendment’ S prohibition a

on cruel and unusual punishment ae

 

 

“Amid: a worldwide pandemic, such conditions a are treacherous Some of the worst COVID- 19 9. oo

2 outbreaks in nU, 18. prisons and alls are. in places _ tke Louisiana and Chicago - ~ whose prison healt th ' ae

- systems have been ruled unconsttutionally inadequate Criminal and advocates say many 1 more _

i ~ people shoul be released from ils and prison, even some > convicted of violent ¢ crimes if they have oo

7 underlying ; health conditions. of : : fe
| ‘The decision to release prisoners ca cannot be made lightly. But arguments, against it discount oe
oa reality recognized over twoce centuries ago: Thebealhg of prisoners and commits are inextricably ao
inked, Coronavirus confirms tha ison walls do not, in » fat separate the welfare of those on th the
- inside from those on the outside | |

Ge . Martin Has “Extraordinary _ and Compelling Reasons” Vor
* Compassionate Release ,

| The principles of Compassionate Release allow for Martin’ 8 early release. As discussed above,
“the principles for release are no longer limited to BOP suidelines, federal courts s have the power to a
determine what constitutes s extraordinary and compeling circumstances. | oe

m Me -COVID- 19 Is a Public Health Disaster That T hreatens Vulnerable a
a - Incarcerated Persons like Martin. ns ;

The covip: 19 pandenic continues to oil the United States. As of Apri 29, 2021, the BOP

has 126, 247 federal inmates in BOP- managed institutions and 13 636 in community -based facilities. .

: “the BOP. staff complement is approximately 36, 000. There are 352 federal inmates and 815 BOP Do

- staff who have confirmed postive test results for COVID- j 9 nationwide There have been 234 federal . oe
 

inmate deaths and 4 BOP staff member deaths attributed to COVID-19 disease. See

https://www.bop.gov/coronavirus/ (last accessed April 29, 2021). Bottom line, Federal facilities are

 

not immune.

Conditions of confinement create an ideal environment for the transmission of highly
contagious diseases like COVID-19. Because inmates live in close quarters, there is an extraordinarily
high risk of accelerated transmission of COVID-19 within jails and prisons. Inmates share small cells,
eat together and use the same bathrooms and sinks. . . . . They are not given tissues or sufficient
hygiene supplies”); Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious

Diseases 45(8): 1047-1055, at https://academic.oup.com/cid/article/45/8/1047/344842 (noting that

 

in jails “[t]he probability of transmission of potentially pathogenic organisms is increased by
crowding, delays in medical evaluation and treatment, rationed access to soap, water, and clean
laundry, [and] insufficient infection-control expertise”). BOP employees are complaining that they
lack masks and gloves, hand sanitizer, and even soap.

“The [BOP] management plan itself acknowledges [that] symptoms of COVID-19 can begin
to appear 2-14 days after exposure, so screening people based on observable symptoms is just a game
of catch up. ... We don’t know who’s infected.” Manrique, 2020 WL 1307109, at *1.10

Indeed, as the Second Circuit recently observed, present information about the COVID-19
epidemic and the BOPs’ prior failings in 2019 to adequately protect detainees and allow them access
to counsel and their families following a fire and power outages suggest that the virus’ impact will
likely be “grave and enduring.” Fed. Defs. of New York, Inc. v. Fed. Bureau of Prisons, No. 19-1778,
2020 WL 1320886, at *12 (2d Cir. Mar. 20, 2020).

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. ok Martin’ S Vulnerability to COVID- 19 Due to His High | Medical Risk
- Isan Extraordinary and Compelling Reason that Warrants. a Sentence
Reduction. a
Martini is spatcualy vulnerable to C OVID- 19 because of his advanced age, c cardiomyopathy
ulmonary hypertension, distipidema, bypertension COPD, aysrttiniahistory, asthma, ‘and obesity. en

no Al the time of sentencing the Court could not have anticipated that Martin’ s diseases wil pace him

 

int the : “high risk" category » nor the existence of the coviD-| 19, As. the COVID- 19 pandemic a oe

 

a continues, it potential poses a pata issue efor older people and people with p pre- existing medical . 7
condition (sucha as serious shear condition, lung disease and autoimmune disease appear ro ben more
vulnerable to becoming severely ill with the covIb- 19 virus..

Lung Problems, Including Asthma. a
~-COVID-19 targets the lungs, so you’re more likely 1 to develop severe symptoms if
‘you have preexisting lung problems, such as: Moderate to severe asthma, Chronic
obstructive pulmonary disease (COPD), Lung cancer, Cystic fibrosis, Pulmonary
fibrosis. In addition to being an asthma trigger, smoking or vaping can harm your
lungs and inhibit. your immune system, which | increases the risk of serious
complications with COVID- 19.

—.. Heart Disease, Diabetes and Obesity :

= ‘People. with diabetes, heart disease, high blood pressure 0 or severe obesity are more
“likely to experience dangerous symptoms if infected with COVID-19. This maybeof

_ .- particular concern in the United States, which has seen increasing rates sof obesity and wie
a diabetes over 1 the years. oe me

7 Obesity. and diabetes both reduce the efficiency of a person’ s immune system. .
Diabetes increases the risk of infections in general. This risk can, be reduced by
keeping blood sugar levels controlled and continuing your diabetes medications and. -
~ insulin, Your risk of serious illness may also be higher if you have heart diseases such
as cardiomyopathy, pulmonary hypertension, congenital heart c disease, e, heart failure or. a
coronary, artery. disease. : a a : oo

How SARS-COV: -2 Causes Disease and Death in COVID: 19 | .
“You'd think underlying lung problems or immune system problems will be the oe
greatest risk,” says Dr. Levitt. “But it seems the biggest risk factors have been.
~ hypertension, diabetes and obesity.’ ”-That has led many scientists to suspect that the |
_- profound inflammation seen in severe cases of COVID-19. may .be yet another

‘Problem linked to, SARS- COV-2' s fondness for ACE2, People. with diabetes,

© 46
 

hypertension and heart disease have more ACE2 on their cells as a response to the
higher levels of inflammation that come with their condition, ACE2 has an
anti-inflammatory effect. When SARS-COV-2 sticks to ACE2 and reduces its ability
to do its job, the underlying inflammation gets worse.

When inflammation gets completely out of control the body enters what is called a
cytokine storm. Such storms drive the most severe outcomes for COVID-19,
including multi-organ failure. There is thus an obvious role for anti-inflammatory
drugs. But knowing when to administer them is hard. Go too late, and the storm will
be unstoppable; go too early, and you may dampen down an immune response that
is turning the tide. A recent article in the Lancet suggests that it would help if
COVID-19 patients were routinely screened for hyper-inflammation to help identify
those who might benefit from anti-inflammatory drugs. But not everyone is convinced
today’s drugs have much to offer. “We tried [a range of anti-inflammatory treatment]
and it actually didn’t work,” says Rajnish Jaiswal, who has been working on the front
line of COVID-19 treatment at New York’s Metropolitan Hospital.

https://www.economist.com/briefing/2020/06/06/how-sars-cov-2-causes-disease-and-death-in-co
vid-19.

Hence, it is appropriate for Martin to be released into an environment where he and his loved
ones can control and direct his medical care. It is important for all of us to remember that convicted
criminals are sent to prison as punishment—not for punishment. People who are severely debilitated
or are in the midst of dying are usually no longer a threat to society, and there is not a compelling
social advantage to keeping them in prison.

Note: According to the Centers for Disease Control and Prevention (“CDC”), COVID-19 is a new
disease and there is limited information regarding risk factors for severe disease. Based on

currently available information and clinical expertise, older adults and people of any age who
have serious underlying medical conditions might be at higher risk for severe illness from

COVID-19.

a. Based on what we know now, those at high-risk for severe illness from COVID-19
= People 60 years and older
. People who live in a nursing home or long-term care facility

b. People of all ages with underlying medical conditions, particularly if not well

controlled, including:

I}
 

coe Cancer res
oo. Chronic kidney disease. . aren
ae ‘Chronic lung diseases, ‘including Copp (chronic obstructive pulmonary |

disease), asthma (moderate-to- ~severe), interstitial lung disease, cystic fibrosis, no ane

and pulmonary hypertension ..

+. Dementia or other neurological conditions oy
ce Diabetes (type 1 or type 2) = De US
Down syndrome ay SE a
oa Heart - conditions | (such | as. “heart ‘lure, coronary artery disease, 0.

oo: --cardiomyopathies or hypertension)
oe ATV infection 0.

ae Immunocompromised state (weakened immune system)

~ os 9. Liver disease nS :

oe Overweight and obesity

ce. Pregnancy ~ O

«Sickle cell. disease or thalassemia

wo Smoking, current or former ee

+ © Solid organ or blood stem cell transplant o

“+. Stroke or cerebrovascular. disease, which affects blood flow. to the brain
oe Substance v use disorders ; Cie Silns

are the hallmark of those whoa are s most st endangered by thei instant pandemic. These are e“extraordinary

and compeling reasons” for his release See Note MA), 8 IBL. 13 (expressly recognizing that" ‘other 7

 

 

. reasons” may exist fo granting compassionate release), see Note 1), s 1B1. 13 Note \() :

, (eosin that eatery and compelling 1 reasons exists ° “other than, or in combination with,

oo the reasons  desribed in subdivisions (A) through © ». Here, Marti s igh susceptibility to a

. COVID- 19 falls within the purview of this catchall Moreover, courts have noted that whil le § 1B1. 13

mn provides “lpi guidance” for deseining what constitutes an extraordinary ond compelingre reason — os

to warrant a sentence reduction, the inquiry does t not. end there Rather, district courts have the fee

freedomt to Shapethec contours of what constitutes an extraordinary and compeling reason to warrant |

compassionate: release. Given the hay infectious nature of CovID- 19, the ne inability ina a facility ike - -

a F FCL to practice any of the hygienic and social distancing techniques that the Center r for Disease oy

18
Control has put in * place | to > prevent rapid transmission, and the fact that Martin suffers from ailments BS

io that have already been identified as “high risk, » this Court * shoul find that Martin’ S ‘slegitimate medical
risk isa sficiemty extraordinary and comping basis for granting compassionate release .

A recent letter by f fourteen U. s senators of both parties underscores this position. Writing . ,

. ou U. Ss. Autorney General William Barr and BOP Director Michael Carvajal they stated: “Wel urge a : - on ;

you to take necessary steps to protect Einaes in Federal custody] particularly by. using existing : : 2

 

oa authorities s under the First step Act (PSA. We have reviewed the F ederal Bureau of Prisons ms UE os we

” BOP) COVID: 19 Action Plan, which notably does not include any measures to 0 prose the most Oe

: vulnerable staff and inmates, . ate is important «that the most vulnerable inmates a are released, 2
. or transferred to > home confinement, if possible » And as the Second Circuit noted about COVID- 19

ina unanimous recent opinion, “The impact of this recent emergency | on njeil and prison inmates, their :

counsel . » the United States Attorneys, and the BOP, inclu ding the individual Wardens and the he Oo

personnel of each facility, is Just beginning to be felt. Its likely course we cannot foresee. Present

‘information strongly suggests however, that it may ybe grave: and enduring’ ” Fed Defs. of New York,

“Inc, 2020 WL 1320886, at*2

Finally i in the ist few months, other jails and prisons have aendy started to proactively Oe
release eer and sick inmates who. are at igh risk of infection, as well as ‘releasing as s many oo

a nonviolent offenders as possible in an effort t to reduce the incarcerated population and thus reduce

the tisk cof spretd For example on | March 2 25, 2020, New York city announced that it ‘would release os _

3 00 inmates from Rikers Islan. Approximately 1 700 inmates have been released from Los Angeles -

- : County Jails, and 000 inmates are eto be released from New Jersey ais, Therefore, while covID. 19 a .

 

7 remains an unprecedented emergency, many | states (and politicians) have recognized t that they have ce
a 1 duty to flatten the curve inside incarcerated spaces. So, t00, ‘should this Court.

| BL ~ Courts Have Granted Compassionate Release in n Light of the instant oo ye
oe Pandemic. ae a wa

 

“Courts in the Southern and Eastern Districts of New York t have granted compassionate ot ae

. lene based on covip- 19. ‘See United States: v. Wilson Perez, No. 17 Cr 513 aD s D, N. Y. a cos OES

Apr. 1, 2020), ECE No. 98, (granting r release based on. p heath is issues sand finding court could v waive ive . ue

oe exhaustion requirement government didnot object based on defendant’ smedical conditions) United oe

a States vy, Mark Resnick No. 12 Cr. 152 omy 6. D. N. y. “April 2, 2020), EOF No. 461 (ranting - |

| compasionat release because of defendant’ s s age and medical conditions i in ight of COVID-19);

“Une: States ¥. Eli Dana, No. 14 Cr. 405 5(IMF) (SD DN Y. Mar 31 2020), BCE N No. 108 (granting |

7 compassionaer release motion, where government consented, because of defendant’ s age: eand medical ‘.

conditions and the risk posed by COVID- 19), United States v. Damian Campagna, No. ‘16 Cr. 8 .

(LGS), 2020 WL 1489829, at aL (SDNY, Mar. 21, 2020) (erating compassionate release a

. sentencing, reduction to defendant convicted of firearms offenses based on defendant s health and

. “threat he faced from COVID- 19; government consented to reduction and agreed health issues and on a

- - COVID- 19 were basis for re eh United States ¥ Daniel Hernandes, No. 18 Cr. 834 ear) |

 

- wp dD. N Y. Apr. 1 2020). ECE} No. 446 (granting compassionate release after BOP denied the erequest o : .

. and converting remaining s sentence to > home confinement).

So, 100, “have courts across the county See United States v. Andre Williams, No, 04 Cr. 95 oes

: vce (N. D. Fla “Ape I, 2020) (granting release based ¢ on , defendant’ s health and, CovID- 19); - ae

= United States ¥. Teresa Arm Mar tin, No. 18 cr. 232 2 (TOR) «. D. Wa Mar. 28 5, 2020), ECF No 834 oe 7

“cusiving any further exhaustion attempts as futile e and granting compassionate release based on
 

defendant S health i issues and COVID- 19 9 pandemic) United States Vv. Jer remy Rod iguez, T No 03 Cr.

an (AB). € D. Pa Apr. A, 2020), ECF No. 135 5 indng court. has 5 independent authority to o

 

: determine’ extraordinary and compeling” reasons sand granting compassionate release based i in part we

oe ond defendant’ s health and CovID-19; no exhaustion i issue because 30 days had passed) United 7

5 Siates x y. Pedro Muniz, No. 09. cr “199 SD. Tex. “Mar, 30, 2020), ECF No. SPB. (granting i - ons

: compassionate release based. on. n health conditions that made inmate susceptible to coviD-19, bee . a .

“United States v. Samuel H Powell, No. 94 Cr. 316 6 sh) wD Mar. 21, , 2020), EC No. 97 ne

: (ranting compassionate release for 55-year old defendant with respiratory problems in light of _

. outbreak without waiting for 30 days or other exhaustion of administrative remedies trough the OL

BOP); United Siates ¥. Agustin Fr rancisco Huneeus, No. 19 cr 10117 (1) ©, Mass. Mar AY, |

2020). ECF No. 642 (granting defendant’ s emergency motion nbased on n COVID- 19), US) ¥. Foster .

No. 1:14- 91-324 02 (M. D. Pa. Apr 3, 2020) (“The circumstances faced by our i prison system during - . |

| . this highly contagious, potentially fatal global pandemic are e unprecedented, Iti 18 NO stretch to call this a

environment extraordinary and comping, and we wel believe that, should we not reduce . : - Z

: Defendan s sentence, Defendant has a high likelihood of contracting ( COVID- 19 from which he
wou Id “not expected to reaver ”. USSG 8 IBL, 13. No rationale | is more + compelling sor 7
- cxraoriay “): US ¥. Powell, No. 1. 94- -r-0316-HSH ©. D. C. Mar 24, 2020), Recommendation, :
oe : Dk 94 (Court recommendation to ) BOP to immediately place defendant, who i is 33° “yeas old and on 2
suffers from several respiratory problems (inching esthma and sleep apnea into ‘home confinement .

». to.serve the remainder of his prison term)...

See also United States v. Watkins, Case No. 15-20333 {E.D. Mich. Jul, ‘16, 2020), granting oe

“ a
coe, compassionate release to prisoner whose only underlying condition was previously. -treated latent TR: se ae

- and Singh v. Barr, No. 20. CV¥-02346- VKD, 2020 WL 1929366, at +10 (ND Cal “Apr 20, 2020) cel’

a (granting release from immigration custody for petitioner with latent 1 TB, hypertension and obesity)

 

 

‘and Unied Stas Gerard Separta No. 18 Cr. 578 (AIN), ECF Dit 69 S. D. N. Y. Apr. 19, ?, 2020), es

‘In Separte, Judge Nathan arnted a compassionate release motion of a ‘Ss-year old defendant who : oe

suffers from Pgh blood pressure, high cholesterol sleep apnea, and hypertension The court t found .. 8

oe that it could waive 8 3582(0) 1KAY S 30- day waiting period and hear the motion, and. i describes FCI o ae

Butner 8 “"Kafkaesque” “14. day auarantine” rocess—hich is S neither a ‘true | “quarantine” nor oo
actualy imited to to. 4  days—before releasing inmates 0 home confinement. | |
oe 4 | . Firs Step Act of 2018: Sentencing Reform |
“Three Strikes” Law ce |
: The FIRST STEP Act rakes very significant changes to drug sentencing laws and mandatory
: minimums for repeat offenders in general Importantly these change in applicable mandatory
“minimums sare going to oapay to anyone who has not 1 yet been sentenced for their crimes. oe
: . a : The term “serious. drug. felony” is added. to ‘ihe d definitions section of ‘the
- Controlled Substances Act in21 U.S.C. 802. A“serious drug felony” includes
~~: any conviction for a | qualifying“ “serious drug offense” crime listed 3 in 18

USC, >. 924()(2)

: Resulted j in 12 months. or more Sof prison n for this particular defendant: and

poe

‘The defendant was , Feleased from prison within. 15 years of . the current
offense. _ :
oe 7 The term “serious violent felony” is. added to the Controlled. Substances |

definitions also. A “serious violent felony” is defined a as a prior conviction for:

low Any offense described i in 18 U. S. Cc. 3559(c)(2V(F) listing specific qualifying me,
--¢rimes, and containing an elements and residual clause}. that 1 resulted in 12. an
‘months or more of prison for this particular defendant; and - ee

2. Any offense under 18 U. s. C. ‘13. [crimes within maritime and territorial

oe 2
 

. jurisdiction of U.S] which resulted i ina 112 month or longer: sentence efor this oS |
- defendant.

-‘There are a 1 few very importan changes to © existing | law: in n these definitions First, , both o
° definitions require that for any prior. conviction to be used, the parila. defendant must t have

oe received: a sentence eof more than 12 months = imprisonment This: isa change from current law which a

 

mS applies to all prior convictions where a sentence of] 12 months or more e could have been nimposed for . ves

. the offense
"Second, the prior ‘serious drug felony” definition incorporates a time limitation for penalty
7 eihancements This is extremely important since it will no longer allow rasivel higher mandatory
minimums for offenses where the defendant was released from prison more than 5 years prior to his |
_ or her current offense
. a Changing’ 841 1(o)DAYvi) mangatory minimums for offenders with one prior
. qualifying “serious drug felony” or “serious violent felony.” The current _
mandatory minimum is 20 years, but the FIRST STEP ‘Act reduces the |
_ -minimum to 15 years. Se ,
and Making a similar change to mandatory m minimums ‘for offenders with t two or
-.. more prior convictions, Current mandatory minimum is life i imprisonment, but

i: the FIRST STEP Act reduces the x minimum to 25 years.

“These ty two changes in the criminal justice reform bill end thes s0- -called' ‘three strikes” law that oo.

has forced mandatory lifetime. sentences « on n thousands of i inmates in n the last 30 years. There would a

no longer be mandatory minimum lifes sentences for these crimes; instead, a floor of 25 years would ye

be imposed for any sentence. Adana repeat. offender with honky one prior 9 qualifying conviction a
would be faving mandatory minimums of. 15 years instead of 20 under this law.

In, this case, the United States sovaht life i imprisonment under section 35596), known a as s the

| manent statute, based on his 1974 conviction for second-degree murder and the. 1988 cae

23
conviction for carrying a firearm in. relation to the bank robbery and armed bank robbery.

| “Accordingly, Martin argues s that the enhancement to ‘mandatory li lite imprisonment no longer =

. , applies because second- degre murder does not categorically qualify asa serious violent felony under oo |

a 1 8 U. S. c. 8 3559(0)2) because it was not a murder“ as described” in $1 1111 of Title 18

 

a : : : Second: deat ee murder dooss not t constitute a crime eof violence under the elements clause] 8

 

u S. C. § 924(913KA}—because it it can be committed recklessly. T rhe elements of second: degre a

. murder are e that the defendant () “unlawlly killed) a 1 human being” @ “with malice forethought” mo

- J 18 U. s. C. § 11n@ Ninth Circuit Model Criminal Hury Instruction 8. 108. (Ml ice aorethoug

a covers s four diferent kinds of mental s states: =) intent to kil; Di intent to do serious bodily injury, oe

G) depraved heart G. e., reckless indifference); and (4) intent to commit a Foy’ » ‘United States v.

Pineda-Doval, 614 F.3d. 1019, 1038 Cir, 2010). As such, second- degree murder may sy be |

committed recklessly—with a depraved heart mental state—and need not be committed willfully or

intentionally. See United States v. “Houser, 130, F.3d 867, 871 “?2 om Cir, 1997) (Malice : |

aforethought does t not require an element of willfulness if the existence eof that malice i is inferred from

the fact that defendant acted recklessly with extreme aisegard for human life. °). -

‘Second. degree murder is Snot categoria a crime of violence under the clement clause, Ig wy re

. “U: Ss. C. § 924(6)NA). And, pursuant to Davis, seconde degree murder cannot constitute 2 a crime of

- violence under the residual clause, section S249), as the residual clause i is unconstitutional | :

“vague Hee, the aplication of the three-strike law does not apply to Martin ashi second-degree :

murder de does not qualify asa serious vs volen felony | | . : pes i | | |
7 ON Note: According to he SR, Martin’ vs 1973 second degree murder was result of “one of : ~

the patrons swung at him with a bar stool and it t accidentally hit, the gun causing it to fire, fatally
injuring an innocent at bystander See 2 PSR 433 Indeed, it was an accident, it was not premeditated OF o

“intentional. Martin’ S 1988 armed bank robbery offense was committed with the use eof a weapon with os

: . no shells and inoperable ‘An investigation of the weapon by the FBI confirmed that the 72 shotgun was 8 |

in fact operable and could not have been fred during the robbery.

oS 92a(c) Stacking . :

 

“Section 403, of the Act eliminates the 80- called stacking” of 18 U, s. Cc. 4 S241) A) eae

. 2 pean Section o24(0) provides for various + mandatory consecutive e penalties for the possession, . .
“use, or discharge oft a firearm during the ¢ commission nota a felony violent or r drug offense However, .

| for a “second or subsequent conviction” of £92440), the mandatory consecutive penalty increases 0

- 25 years. _

 

Now, under the Act, to avoid such an absurd and draconian result, Congress has clarified that
the 25-year mandatory consecutive penalty only applies “after a prior conviction under this subsection
has become final.” Thus, the enhanced mandatory consecutive penalty no longer can be applied to -

: multiple counts of 924(6) violations.

Jn light of the “First Step Act” (FSA). of 201 8, and its “¢larification” of Section 924(c). of Title a : |

18, United States Code, Martin would not be subject to 0 “stacked” punishment f for 1 the “second and Oo

subsequent” 18 U, S. C § e240) © counts, At this stage of the proceedings, Martin would invite the . an oe

Disc Court to take into consideration that the “p PSA of 2 201 8” made, a‘ “laying” change to 18 :

o U. S, C. 9246) that clearly indicates that a defendant who faces multiple i8 U, S. C. 4 924(0) oe |

o o conviction in a a single prooesting would not be subject to “stacked” punishment i. e., 5 years. for the a

first 8 s24(0) and 25 years for gach subsequent 18 U. s, c. 5 S24) conviction, Indeed, Congres in

clarification of Section s2H(eKINO) of Title 18, United States Code, amended in. the matter

225 0
: pr eceding 3 clause (i) by striking “second” or subsequent e conviction under this subsection and i in serting .
- “violation of this subsection that occurs, after a prior conviction under this subsection has become an

. ‘inal ” Clearly Congress “clarified” the meaning. of the phase ‘second and subsequent” therein a :

 

 

a Section 9240 and in doing sO made clear that Tile 18 U, s. C, 4 924(0) offenses charged i ina single es :

7 indictment and adjudicated ina a single proceeding could not be considered second and subsequent”

tl to the first 18 vu. S C.§ s24(e) offense charged.

 

- Example Contemplates five-year mandatory minimum terms for using, carrying, or

possessing a firearm in » furtherance of a crime. of violence or r drug trafficking offense Higher oo

mandatory minimums apply depending o on other factors such as whether the firearm was s brandlshed

(seven years) and d whether the firearm was a | machine gun (30 years) among others.

 

 

 

 

 

 

924(c) Counts re Conviction | | BEFOREthe | AFTER the
in n the Same Indictment First Step Act ae First Step Act.
| i Count - - Mandatory m minimum of 5 year. Mandatory minimum of 5 years
oo 2 Counts a - Mandatory m minimum of : | Mandatory minimum of
/ 15 +20 = 25 years SPS +5 = 10 years - .
_ : 3 Counts i Mandatory minimum of . . | Mandatory minimum of
ae oO 5+20+20= = 45 years [5 #545515 years
= 4 Counts - oo oe Mandatory minimum of Mandatory minimum of os
oe - 5+ 20 + 20 +20= 65 years po t5+545= = 20 yeats .

 

 

 

 

"Effective date of these changes: The Act provides that the ¢ amendments to section s24() oe Be

7 shall appl to any. offense tha was committed before the date of enactment of this Act.

af sentence today, Martin would receive a substantially less harsh sentence e for the 5 samme, .

criminal conduct. He therefore requests this Court order a hearing to impose a reduced sentence a

26
 

under the ESA's applicable statutory range, i. e. the cur Tent statutory penalties Martin requests this, : . mv

. - Court order an updated presentence report sO that his sentencing guidelines may be recalculated i in

~ : accordance with law. At such a hearing, all the relevant statutory sentencing, s factors under 18 U. s. C. . o

 

: 4 3553(8) will be addressed it in order to > achieve 4 a sentence that his sufficient but not t greater than ene ae

necessary. ee

a a ‘In effet, Section 403 of the First 1 Step Act should dictate a term of 5 years: on Count 2 (fo | . CUE

. 924(0) count) Here, a sentence reduction to reflect Martin's snew Guidelines range i is in te interests

- of juste and furthers the purposes set forth i in 18 vu. 18, C. § 355300).

. Ast to othe Second- ‘degree murder c conviction on Count 1, however, the court is isrequired to set a os

aside eMarin si sentence because second- segres murder does not category qualify asaserious . -
violent felony under I8U.S. C. § 3559(6)2). As such, the mandatory life sentence imposed for Count
‘1 must be vacated in accordance with the First Step Act. Martin i is eligible for elit under the First .
Step Act, and the court will reduce bie sentence « on Count 1 to 20 0 years torun consecutive with the
5. ‘year crane on n Count 1, for. a total term of 25 a imprisonment. | |

“In United States v. MoCoy 981 F. 3d. 271, 287 a Cir. 2020), the Fourth Circuit considered

a question substantially similar to the 0 one we now. face: whether iti is permissible: for dist courts, So oe

as step one of & BS82(ON AY 8 test, to consider ‘the First step Acts elimination of .

“sentence- tacking” under 18 U, S. C. § 92400), even hough Congres chosen not to make that change oS

- retroactive, sto all defendants who received sacked sentences prior to the First step Act . MeCoy, 981 a

oF, 3d at (284. 87 The Fourth Circuit concluded t that it was 3s permissible for district courts to: “reat as, : ce

. steady and compeling reasons’ for compassionate release the severity of the defendants’ 3 .

a 924() sentences and the extent, of the disparity between the defendants sentences and those provided -

ae “27
 

4 for under the First ‘Step Act. » Ad at 286. The Fourth Cireuit emphasized however, that it was snot ae

os ‘the length of the orignal sentences alone that constituted 2 extetrinay and competing reasons.”

 

Rather tl the Fourth Cireut, noted the pjudgments before i it* ‘were the proc of. full consideration ae

o of the defendants individual circumstances,’ including, but not limited to, ‘their r§ 924(0) sentences, ns 2

Id. Those circumstances s included “the defendants relative youth at the time of thet offenses,”

- the amount of time e each defendant had already served. on » ther originals sentences, . the defendants’

“excellent institutional records, ” -and the ‘substantial steps toward rehabilitation” taken by the vps

- defendants Id.
— De ‘Recidivism Risk Level

in his 278 months of imprisonment Martin has matured from a rash middle- aged man
pursuing a. tes ifestye, to. a reflective, empathetic nated responsible adult. According to the
Overview of Federal Criminal Cases published byt the United States Sentencing Commission for the
scl year of 2020, the average sentence imposed. for murder} Is 255 months, about ‘twenty-three 7

- months n more than Mastin’ Ss already served sentence for armed bank robbery U. S, SENTENCING |

_ COMM’N, OVERVIEW OF FEDERAL CRIMINAL CASES, FISCAL YEAR 2020, at 92021). os

. However, r, Martin was not {sentenced for murder but rather for armed bank robber. Hey was 43 year So SR

- old when he committed the instant nt offense, thus he has served more than ¢ one- -third, of his lite behin |
Le bars. Thisi is significant ponishment for his armed bank robbey depriving h him of “te fail lie’ that . A
oe “he! “cherishfes]n more than anything.” : | | _ |

a ~ Martin urges s the Court to consider inary case 2 citations: ;
4 United States v. Marks, 03-CR-6033L (W.D.N.Y. ‘Apr. 20, 2020) quoting

: ° United States v. Redd, No. 97-cr-00006, 2020 WL 1248493, at *6(E.D.Va.
_ Mar. 16, 2020) (concluding that the “gross disparity between the sentence Mr. -
 

And

Redd received and the sentence ‘he would have received after the First Step. — |

Act,” due to Congress’. elimination of “stacking” § 924(c) charges, were

: “extraordinary and compelling developments that constitute extraordinary and
compelling reasons, 5 that warrant a reduction + to Mr. Redd’s 's sentence of
7 ‘ingarceration”).. ee:

- United States v, Clark, Case No. IL. CR-30- 2- PS (ED. Wis. Tul 23, 2020) bea!
- quoting that in Redd, the Court evaluated whether - extraordinary and ¢
oe compelling reasons existed to reduce the ‘sentence by considering (1) the -.
.-sentence the. defendant originally. received . compared to the one he would.
“receive today; (2). the disparity between those sentences, and (3) the reason — -
for that disparity. Redd, 2020 WL 1248493, at *5. ‘There, the. court
determined: that the disparity was‘ “primarily { the result of Congress” conclusion .
.’ that sentences like [defendant st; are unfair and unnecessary, ” Td. at *6.

. | United States Br ooks, Case No. 07- o1-20047-JES- DGB c. D. Th. May 15,
- 2020) .quoting that. in. Redd, the district court held “a court may find,
“independent of any motion, determination or recommendation by the BOP
Director, that extraordinary. and compelling reasons exist based on facts and

circumstances other than those set forth in U.S.S,G. § 1B1.13 emt. n.1(A)-(C)
and that the reasons it has determined in this case constitute extraordinary and
compelling reasons warranting a sentence reduction satiety any requirement

for consistency with h any applicable policy statement.”

~~ United States v. Maumau, No. 2:08- CR. 00758- TC- 11, 2020 WL 806121, at es
 *5 (D. Utah Feb. 18, 2020) (considering § 924(c) stacking changes one of ha
- several extraordinary and compelling reasons), United States v. Urkevich,No. —
 8:03CR37, 2019 WL 6037391, at *4 (D. Neb. Nov, 14, 2019) (“A reduction

in his sentence is warranted by extraordinary and compelling reasons,

‘specifically, the injustice of facing a term of 1 incarceration forty years longer

than Congress, now deems warranted for the « crimes committed. ”.

_ United States v. Crowe, 980 F.3d.at 1102 n.6 (holding that inmate’s prior
exposure to tuberculosis “could -be considered .an extraordinary and
compelling reason for compassionate 1 release” because it “put him at risk of

~ » contracting the virus” or “‘serious long-term health problems” ifhe had already .

contracted it). Courts considering the issue post-Jones have agreed, See,e.g.,

~. United States y. Rucker, No. 17-20716, 2020 WL 7240900, at *2(E.D. Mich.»
‘Dec. 9, 2020) (HIV and asthma) (citing Jones, 980 F.3d at 1102 n.6), United

~ States v. White, No. 18-20183, 2020 WL 7240904, at *3 (E.D. Mich. Dec. |
9, 2020) (BMI of 45.9) (citing Jones, 980 F.3d at 1102 n.6); United States v.

29 -

 

 
 

~ Crowe, No, CR 1] 20481, 2020 WL 7185648, at +3 (E, D, Mich, Dec. 7,
2020) (latent tuberculosis, hyperlipidemia, obesity). coe

“e.. Section 1B1. 13 has not been updated to reflect pursuant to the 2018 First oy
Step Act, hence, defendants now have the ability to bring. such motions oe
directly, This anomaly has given rise to a debate concerning whether and to.
.. what extent § 1B1.13. applies to motions filed by defendants, with several
“circuits recently holding that § 1B1. 13. applies only to motions filed by the
_.. Bureau of Prisons, and not to motions filed by: defendants on their own behalf. 9
See United States v. McCoy, Nos. 20-6821, 20-6869, 20-6875, 20-6877,
- 2020 WL 7050097, at *6-7.(4" Cir. Dec.'2, 2020); United States v. Jones, —
~~ No, 20-3701, 2020 WL 6817488, at *8-9 (6" Cir. Nov. 20, 2020); United
ae “States v. Gunn, No. 20-1959, 2020 WL 6813995, at *2 (7" Cir. Noy. 20, :
- 2020); United States v. Brooker, 976 F. 3d 228, 234 Qd Cir. 2020).

“Iti is also essential to note thet at sentencing, Judge Shapiro complained aloud that a life.
sentence v was $ too harsh for Marti’ E < Match 6, 1998, robbery of $6, 694 from the United Bank branch

on Girard Avenue n neat 2988 Street See Exhibit 4. Martin’ s sentencing guidlines called fora a prison -

 

term in the 20-year range, and that woul have been’ ‘more adequate” to cover the bank robbery |

qv s questionable social policy,” She said of the th three, stike law. The Judge also said it was “wrong”

of the law- enforcement authorities to use the federal courts, ito put Martin away for life for a bank os
. robbery because they “think” t the seven years he served for murder was inadequate punishment Id.

os ‘FF actoring i in Martin’ s advanced age, medical contin and rehabilitation, his continued risk . :
| to the public if rete appears to be e markedly reduced as recidivism deatne with we, pasculacy

oa when tempered by significant rehabilitation Martini is now 67 years: sold making him substantially less =

- tikely to recidivate than a younger offender. “According to. a. 2 report by the U, S. Sentencing oS |

. Commission, Martin, at 65 years ¢ or older, has a recidivism 1 rate of 2, ! percent. See U. S. Sent g = oS

| ‘Comm’ n, The Effects of Aaing on » Recidivism 1 Among Federal Offenders 3 Dee, 2017 (eporting

that “recidivism measured by re rearrest, reconviction, and reincarceration n declined as sage increased”
7 and that offenders 's.aged 05 or older had a rearrest rate of 2.1 Percent, as s compared te to 56. 4 4 per cent =

for offenders younger than 29) To date, he has served 278 months in BOP custody. Given the length oe

 

 

OF his imprisonment, his personal rehabilitation, and ceely felt remorse, the Court must conclude that at

. deterrence and d public protection a are no  longet strong § 3553) factors weighing in favor of a

oe continued detention, oo

 

"Under Ig US. c § 35821002), to mos Martin’ S sentence, aking into account tthe advisory Lo ne

- seg of the guidlines after Booker and the considerations s set «forth in 18 u, Ss. C. 8 355340) The . ‘
‘court. should find that a sentence e of time served i is sufficient, but not seater than necessary, and .
‘accounts for the. centecing factors the court re must eo consider pursuant to 18 U, 8. Cc. § 35530), .
. socal deterrence protection a of, the public, and respect for ihe law. - | |

Additionally, Martin also contends that evidence of his post- sentencing rehabilitation warrants

a reduction, Martin’s sentence would result in unwarranted sentencing disparities among similarly
. situated defendants. More so, his BOP record does not show that he is violent ora threat to public.

“safety. This sentence also avoids unwarranted sentencing disparities,

if ranted compassionate release, Martin will reside with his s sister, Chris A, Leonard Tesiding oO UE

“at at 321 Hopesway Drive, Dudley, NC 28333- willing to provide Martin with shelter, food and oe

. personal services needed upon. his release, See Exhibit 4 4.

| “Finally, the combination of factors, age, health contitions, cOvID. 19 9 risk, as wel i as length

7 of time already served, post- sentencing rehabifitation, and the changing sentencing landscape justify |
ging compassionate rl release to | Martin. Else, it t would result i in unwarranted sentencing spares :

oS , among sitnilarly situated dents More SO, his BOP record does not show th that he j is violent ora

“threat to public safety.
 

IV. CONCLUSION

For the above and foregoing reasons, Martin prays this Court would consider his Motion for
Compassionate Release/ Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) and the First
Step Act of 2018, based upon the fact that he has exhausted available administrative remedy and he
has met the “extraordinary and compelling reasons” requirement. Martin’s has already served a
sentence about 38 months longer than what would be imposed today for the same conduct.
Remaining in prison would only exacerbate the sentencing disparity created by a sentencing practice
which Congress ended with the FSA by clarifying its intent from the beginning. Martin prays that this
Court finds that the § 3553(a) factors weigh in favor of reducing his sentence to time served.

Respectfully submitted,

Dated: June 2¥ 2021 thy, f- Fike

ROBERT EARL MARTIN

REG. NO. 39869-066

FCI BUTNER MEDIUM II
FEDERAL CORR. INSTITUTION
P.O. BOX 1500

BUTNER, NC 27509

Appearing Pro Se

CERTIFICATE OF SERVICE

I hereby certify that on June 2%, 2021, I mailed a true and correct copy of the above and
foregoing Motion for Compassionate Release/Reduction in Sentence Pursuant to 18 U.S.C. §
3582(c)(1)(A) and the First Step Act of 2018 via U.S. Mail, postage prepaid, to Mary E. Crawley,
Assistant U. S. Attorney at U.S. Attorney’s Office, 615 Chestnut Street, Suite 1250, Philadelphia,
PA 19106-4476.

ROBERT EARL MARTIN
 gyHEBIT:

 

 

 

- “Administrative Remedies”
 

si.ioo ANMATE REQUEST PO STAER 25555

 

U.S, DEPARTMENT OF JUSTICE PED ERAL BUREAU OF PRISONS

 

 

& wrod

Tinie ag Stabf Manoesy (PoATE: oO

he Laken Lime. Las

Rebs eb Mastin

  

 

 

 

 

 

 

 

 

    

 

Pag suant ty Pructan Sk loneol. Seve So Pan Re
(gore nssitaute fe Lage f. Ag Das bien ls bead sure Vela d tng 3S
Ceo can: dy ane Yes (3) Ten Eibinc wei ta "Elo al “inne be a
pte die sd Lewd bien Fee fev? Reds Len i ve hss oie Sethi ging a
thaen! vatitanetive palmiada, dD: Ceeye Ce p01 ga thits rLetenit,
Gotery Dicvece, ischem: ‘ COM mye ps the if * Reload i Plans te Ls
doe Phys sictee in Poole Nog th (oecling fv we be with bh.
tetea bee ig ate tecn ?

 

{De ast write pelow this line}

 
 

RAS

  

 

 

B® AN

tayo fita; ¥ vay iemara Le we
taks form may be repiic setw A via HE) - . This form replacas B+ Lad, 279 ‘dated Sas aa
oo . Lo Be met Lt and ae- aida. ony ARR eh te :

 

 

“FILE IN SHoTIOW § ONLESS APPAOPAIATE FOR PRIVACY FOLDER . a "SECTION 6

 

   

 
 

U.S. Department of Justice.

_ Federai Bureau of Prisons
Federal Correctional Complex

_ Federal Correctional Institution Heo

P.O, Box 1500.
~ Butner, NC 27509.

 

 

DATE: -: “November 19, 2020.0.

a

  

 

REPLY. TO. P%e
ATTN OF: D. Leu, Warden :
oe PC! Butner Ul, North Carolina.’

 

TO: MARTIN, Robert Earl ay
- ~ Register No,: 39869-066-

SUBJECT: * Reduction in Sentence-COVID-19 _ .

You requested a reduction in sentence (RIS) based on concems about COVID-19. After carefi ul
consideration, your request is denied, _ a ot

| Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on motion
of the Director of the BOP. to reduce a term of imprisonment for extraordinary or compelling .
reasons. BOP Program Statement No. 5050.50, Compassionate Release/Reduction in Sentence:
Procedures for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(2), provides guidance «~
on the types of circumstances that present extraordinary or compelling reasons, such as the
inmate's terminal medical condition; debilitated medical condition: status as a “new law” elderly
inmate, an elderly inmate with medical conditions, or an “other elderly inmate”: the death or |
incapacitation of the family member caregiver of the inmate's child; or the incapacitation of the .
inmate’s spouse or registered partner. Your request has been evaluated consistent with ihis
. general guidance. oe Lo ee a ee)
The BOP is taking extraordinary measures to contain the spread of COVID-19 and treat any .
affected inmates, We recognize that you, like ail of us, have legitimate concerns and fears about..."
_ the spread and effects of the virus. However, your concern about being potentially exposed to,
or possibly contracting, COVID-19 does not currently warrant an early release from your

*

__/ Sentence, Accordingly, your RIS request is denied at this time.

: _.If you are noi satisfied with this response to your request, you may commence an appeal of this. |
_ decision via the administrative remedy process by submitting your concerns on the appropriate
form (BP-9) within 20 days of the receipt of this response, . ° oe ae Dey
 

“Medical Documents

 
 

BT 969 066 BTE

 

Catheterization Laboratory _; Name: MARTIN, ROBERTOPUS E
“| MRN: 121379215 . DOB: GALAN 54
nO 4 SERVICE OF DUKE UNIVERSITY HEALTH SYSTEM Gender: Male os
joo: os || Proeedure Date: 1/31/2020
Cine: CSN: 213985071

   

 

 

 

 

 

a Duke. Regional Hospital
‘Cardiac Catheterization Report

- indiestion(s) for Procedure

, ACD. Code ee Description re Ma
. / 2+, 1 >. -HF, chronic; Chronic systolic hear failure. :
ROB. 02*.:. 20+... Shortness of breath ae
WEAO Atherosclerosis of native coronary, no. angina

"*Denoles primary | Indcation

- History -

 

 

65 Yo man with a history of ioM, HFEF sip Icb, COPD and res referred for fa and left heart catheterization in the setting of -
persistent SOB. a Ea a ee oo -

: Procedures.

- Aortic. pressure .
Coronary angiogram - - left
| sGoronary angiogram - right -
“Right heart catheterization -.
"Fick cardiac output
Left heart cath (LV pressure}
Vascular Access
Right radial artery 6F sheath
~ Disposition: Removed in lab, site sutured and manval compression applied
Right radial artery 8F sheath —
- Disposition: Removed | in lab, manual compression applied

_ Gatheters
Diagnostic: GATH, MONITOR SWAN GANZ 2LUM SFRATIOGM
Diagnostic Findings .
- Coronary arteries
. Dominance: ‘tight
All coronaries normal (n0 CAD).

‘Hemodynamics (mmHg) - 9° | -
State: Baseline - , wo
-AOIBP {asc Ao): 109/67 Mean: 81 mmHg
“LV: 4130/7. EDP: tmmHg | ,

. Right Heart Catheterization
State, Baseline...
oo RA: -SmmHg (mean) -
“RV! 38/5 mmbg -
PA: 40/17 ..22 mmxHg (mean) |
POW: 40 mmHg (mean) .
UAV O28: . 5.9 vol% -
Cardiac output, °5.2 Limin
. Cardiac index: © 2,3 Limin-mn?.°
>. PYR: 2.8 Wood units

, - Adverse Events

No complications.
Contrast Total
—. dsovue 370 300 ml:
 

 

Patient Name: MARTIN, ROBERTOPUS E
MRN: D1379219 Date of Procedure: 4/31/2020 CSN: 213985071 .

 

Final Diagnosis

ted, Code - Description oe us

HF, chronic; Chronic systolic heart ale:
ROG, 02* oS . Shortness of breath oo 7
125, 10 aa Atherosclerosis of native coronary. no angina on

: ‘sDenotes primary fi fi nal diagnosis
impressions S oe,
_ No significant CAD
..Calcified LV apex ee .
: Normal RV/LV. filling pressures -
Mild pulmonary hypertension, (PVR 2.8 aw) with norsk cardiac index (2. 3 Lina)

3 Moderate. sedation with IV behadry, fentanyl, 2 and versed 4 personaly supervised ‘by me s for a total of more than 20 minutes : .
No sedation issues

No compiicatians .-
~. Minimal blaod loss

Absent Aortic stenosis .

“Recommendations . , . os oo
To holding | In stable condition wth TR band in place

James Matthew Brennan, M.D. was personally present as the attending physician throughout the entire procedure.

 

’ James Matthew Brennan, M. D.

‘Electronically signed by Matthew Brenna, MD slectroneally signed by! brenndd9 on 4/91/2020 12:37:08 PM with status ot Finat

 

 

 
 

 

_ Patient Name: MARTIN, ROBERTOPUS E
- MRN: prs7e2ie. Date of Procedure: 1/31/2020

“CSN; 213985071

 

Patient a :
“MARTIN, ROBERTOPUS E: ,
DOB: 6/14/1954 , Age: 65 Gander. Male
Race; Not reported/Declined . Ps
'- MRN: 01379219 : : Se
‘Case Accession Number AABO96722 re

Healthcare Facility 000057
“Duke Regional Hespital : ae
- Adult Cardiac Catheterization, Laboratory noe!
-.3643 Roxboro Street - : .
~Burham, NC 27704 : >
849-470-4000
: Operator oe
ames Matthew Brennan, M. D.
Staff es
“Richard Sykes, CVT - os
“Michael Anderson, CVT
. °, Janet Marrison, RN :
*. Gare Providers
. Referred oy:
. \- Eric S Moore .
2609 North Duke Street, § Ste. 700°:
- Durham, NC 27704 2 ot
oa 919-220. -B51G 00

 

HISTORY AND PHYSICAL DATA

. Medical History
‘Dyslipidemia °
Hypertension
.Chronic-lung disease
_ «GP symptom assessment: Asymptomatic
CSHA Clinical Frailty Scale: 5: Mildly, Fralt
Prior MI: 01/01/1996 -
Indications for Gath Lab Visit:
Stable known CAD - :
_ LV dysfunction °°
Pelindications =~
_ + CAD {without ischemic sx)
EF 35% |: Modality: Echo .

aaa Diagnoses (* indicates primary indication)

HF, chronic; Chronic systolic heart failure |

“* RO6.02 Shortness of breath

«128. 10 : Atherosclerosis of native coronary, no 9 angina

 

oo > PROCEDURE DETAILS.

- Procedures
‘Aorilic pressure
-.. Coronary angiogram - left
: - Coranary angiogram - right
Right heart cathaterization
Fick cardiac output °°. ‘
-. Left heart cath (ly pressure)

a Logisties .

 
 

 

- Patient Name: MARTIN, ROBERTOPUS E .
‘MRN: D1379249 | Date of Procedure: 4/31/2020. CSN: 213985074 :

 

mo, Time arrived i in lab: 10:10 AM, fram Monitored bed coe
": > ‘Timeout performed and patient v¢ verified ak 10; 38: OG AM

Consent signed: yes -
Sedation consent yes :-

Time departed from fab: 11:15 AM, 10.
‘Final patient condition: Stable

. a : Baseline Data

Height: 177,8cm_ Wag 11. ‘9 BSA: 227 7,

‘Vascular Access ~ ot
“Right radial artery 6F.

Disposition: Remeved in lab, site sutured and manual compression eppted oe

“Right radial artery “OF. -

Disposition: Removed | in fab, manual | compression applied ~

 

DIAGNOSTIC FINDINGS

. Right. Heart Catheterization a

“State: Baseline
"Assessment state:

inspired O2: Room air oo
. Estimated percent above BMR = 0%

”. Hemadynamics (mmHa) oe ae
' Bite __ Systali¢ Diastolic EDP

 

 

A Vv Mean
Ao (asc Ao}. “09 GF oO “84
AMD 430 To 1 OF
RA te Se 5 § 5
“RV: a 38 5 oe) : -
- PA . . 40 Wo : : . . 99
PCW: 8 10 - 400 40
_Oximetry ct ee
Sos Site Habfaidi) . * O02 sat (%) ¢
ASC AO: 15.0 a “90,0
: PA: - 44.0 ooo 7.0
PA: AQ 58.0
Calculations ~ a
“02 cansumatian: 274.8 ML O2/min (assumed fi ich) EPBF (Qep): 4.4Limin _
*. Mean Hgb: 14.5 g/di Doe? of
AVOZ 5.3 VOI% |
“PBF (Qp): 4.4 Lémin
Cardi fac output (Qs): 5.2 L/min.
Cardiac Index: © 2.3 Limin/m? —
7 PVR: 2.8 wood units

_ SVR:

coronary Angiography

dnstruments: CATH, MONITOR SWAN GANZ 2LUM | SFRXIHOCM 7 a

‘Coronary Anatomy
‘Dominance: Right

~ 14.7 wood units

Al coronaries normal (no CAD).

 

 

 
 

_ Inmate Name: MARTIN, ROBERT EARL:
*. (Date of Birth: - 06/14/1954 0000

Scanned Date: - 02/04/2020 14:36 EST

|. Bureau of Prisons
Health Services.
. Cosign/Review

7 Reviewed by Craft, Patrick MD on 02/41/2020 43:36, : me

'. Bureau of Prisons - BTF

Sex Mi

Reg #
- Race: : . Lo
Facility, 9 BTR)

_ 39869-0686

BLACK

 

 
Bureau of Prisons |
Health Services . ee
Clinical Encounter - Administrative & lote

 

“a

Jnmate Name: MARTIN, ROBERT EARL OME Reg #: 39869-0686.

| ‘Note Date: 06/37/2018 4167 0 Provider: “-Linzau, Jean MD. Unit: Mod. °

Ss Cosign Note - Clinical Encounter Cosign encounter performed at Health Services,
' Administrative Notes: = Se Cts
ADMINISTRATIVE NOTE . ae > Provider: “Linzau., Jean MD Be , :
1M seen and evaluated in . urgent care unit. IM Noted to be coughing, paroxysmally with ary cough. IM
complains. of inability lie flat in bed on. his back . does better on his stomach. ee,
Denies chills and fever. wt ;
Exam commenis: oor as
7 A&O x3 NAD multiple episodes of cout during exam -
VS as recorded. oh ;
:  HEENT Lef eye conjunetival hemorrhage
PERLA
| Pharynx appears irritated ‘and reddened.
Chest symmetrical ICD inplanted left upper chest. :
Lungs : diffused wheezes and occasional crackles thruout lung fields,
‘Heart RRR. a oe
. -EKG: no acute changes
Ass: Bronchitis/ Pharyngitis
‘P: Nebs RX
- Inhaled steroids :
Tylenol #3 tid prn for paroxysmal cough. °

 

 

 

 

 

 

 

 

 

Temperature: Po an
‘Date —S Time Fahrenheit. Celsius Location Provider
© 06/17/2018 10:21 BUX. 98.4. 36.9 Cox, BRN
Pulse: . | _ re ee
“Date  . Time - Rate Per Minute . Location. ss Rhythm ~—_— Provider
06/17/2018 10:21 BUX QQ oe Cox, BRN
Respirations: me ae oe Dp _
‘Date... >. Time... "Rate Per Minute Provider ;
06/17/2018 4021 BUX 28 Cox, E.RN
Blood Pressure: a oe re oo, os
Date -* Time Value .Location . Pasition .. Cuff Size . Provider
. 06/7/2018 10:21. BUX 2980 Cox, BRN
7 pate Time —-Malue(%) Air . Provider
06/17/2018 10:24 BUX 98 RoomAir 0...) Cox, E,RN
‘New Medication Orders: ne o pe vie sor
Rx# - Medication oS oe (Order Date .~ _. Prescriber Order :
. : Albuterol Sulfate 0. 083% neb solution | oo . 06/17/2018 11:57 oe apply Orally one time x 1 day(s)

Indication: Bronchitis
‘Start Now: Yes .
Night Stock Rx#:

\ “Generated 06/17/2018 12:45 by Linzau, Jean MD ue Bureau of Prisons-BUH ee “i. Page 1 of 2

 
 

Bureau OF Prisons |
. Health Services . .
Clinica! Encounter - Admini istrative . Note.

 

 

Inmate Name: MARTIN, ROBERT EARL 8 Reg at 38868-088
Date of Birth, © OG/14/1854 Sex aM Race:BLACK Facility:  BTE
- Note Date: «08/17/2018 13:31. “Provider: Creft, Pairnck MDB 00. Units 2 M04

 

 

Review Note - Report Review encounter performed at Health § services,

“Adm ninistrative Notes: - oo a, a

. ADMINISTRATIVE NOTE . es Provider: (Crafi, Patriok MD. POE as ;
PFT reviewed.IM had ¢ COPD based on FEVI/FVC. of 48% (normal 70%), Itis stage 3 by 30%< n=38% <50%.

ASO ast ne confirmed | with change in ik in FEV of 280 ee and 24% with branchodilator (diagnostic is change of
200 ce.an d 12%. } ole ees :
7 Both FRC and RV increased as seen Jn emphysema,
a wil begin Spiriva and Asmanex to use daily.
Will send to PA to d/w inmate, a
ASSESSMENTS: oo.
. Chronic obstructive pulmonary disease [COPD} » 1449 - Current
New Medication Orders: LO — .
Rx#t OO Medication , . Order Date ‘Prescriber Order
Tiotropium Bromide Inhalation Cap oo (98/17/2018 13:34 1 puff Orally - Two Times a Day |

a ~ x 180 day(s)
‘Indication: “Chronic obstructive pulmonary disease [COPD] a

Renew Medication Orders: ae Se
“Re ow Medication ee Order Date ~. -Prescriber Order

1415884-BUX © Mometasone Furoate. Inhal 220 9 MEGiInh ( — 98/17/2078 13:34 _ inhale 1 puff twice caily for 3.
: 30.doses) 0 ca co days shake well ***pill line*** x

180 day(s} Pill Line Only
“Indication: Cough Bronchitis | _ ee

Copay Required:No . oe _Cosign Require: No _
‘Telephone/Verbal_ Order: .No . : oo

Completed by Craft, Patrick MD on 08/17/2018 13: 56 _
. Requested to be reviewed by Leculre, Pascale PA-C. .
* Review documentation will be displayed on the following page.

Gererated 98/47/2048 13:56 by Craft, Patrick MD Bureau of Prigons-BTF. 2 8 0 oo ‘Page fof -
. Bureau of Prisons
Health Services ~
Clinical Encounter

 

"inmate Name: | MARTIN, ROBERTEARL 2 Regt: °39869-066
‘Date of Birth: °° 6/14/1954 woe I Sex: 0. OM Race: BLACK 2. Facility; BTR

‘Encounter Date: 08/21/2018 40:04. a a oo . Provider: © “Craft, Patrick MD : a, Linit: ne MO

_. Physician - “Follow u up Visit encounter at Hesith Services.
‘Reason Not Done: ‘No Show - ae re : . .
Comments: follow. up on clo unproductive cough. and t new w diagnosis C COPD. IM A needs Spit rive 2 sieroid, Not in WR at _

callout time. -
-Casign Required: No ae
Completed by. Craft, Patrick MD on 08/21/2018 10: 05,

 

 

Generated 08/21/2018 10:05 by Craft, Patick MDS Bureau of Prisons - STF ‘Page tof a

 

 
. Bureau of Prisons
Health Services
~ Clinical Encounter.

 

- Inmate Name: MARTIN, ROBERT. EARL LEED AEDS I Reg #: - 39869-066 -

Date of Birth: 06/14/1954 o Sex: 2: M+ Race: BLACK . Facility: -BTF

‘Encounter Date: 08/21/2018 10:45 5: “Provider: Craft, Patrick MD. Units. M04

 

“sg Status: In Progress. .
: “Physician - Follow up Visit encounter performed al at Health Services.
SUBJECTIVE: Soo . :

: OBJECTIVE:

 

   
  

_Copay Required:No .°.. -. + -Gosign Required: No.
Telephone/Verbal Order: ‘No : ae

 

 

 

Generatec 08/21/2018 14:06 by Thamas, Christopher HIT. °, Bureau of Prisons-87F 000 De .o Page j of 7 -
‘CONSU LTATION REPORT -

U, S. DEPARTMENT OF JUSTICE a - FEDERAL aL BUREAU OF PRISONS

 

 

Name: “Martin, Robert Earl pew a A oe na Seca sin
Reg. #: 39869-0686 = Referred By: BUTNER FCI. ~
. Poe: Bet BO S 3] Attending: MOORE, ERIC °°.

 

 

 

: CHIEF COMPLAINT: coronary artery disease. -

 

 

Date of Visit: 0: ft) Dictation Received: - ey Dictation Transaribed
: OO6/2016 - Pn ne O1/OS/2016 at’ b10S/2016 rn

 

 

 

 

Sensitive but Unclassifi en

“CONSULTATION ; - ; me ane 7

: HISTORY | OF. PRESENT ILLNESS; Me “Martin has a spistory of ischemic cardiomyopathy. ‘He had a an MI, apparently
_. in the mid 1990s. | do not have a cath report, but most recent echocardiogram was done in 11/2015, thatwas o>
- consistent with LAD territory infarction with j an 1 ejection. fraction of about 25%. He also had a a mild pulmonary ,
‘hypertension at that point In time. : .

". He also Aas a history of dysrhythmia, He has. a defibrillator | in place fe for what was termed n runs of nonsustained ventricular
tachycardia. ‘After placing the defibrillator, he was shocked 30-40 times for what appeared to be supraventricular tachycardia. The

’ settings on his pacemaker were changed and he has not been shacked since, but the pacemaker continues to shew bursts of SVT.

He has received antitachycardia pacing f for these bursts of SVT, though Ie It has not t progressed to the point where he has gotten SS
shocked. Sn, . . . / ae .

_ He reports problems with exertional | dyspnea. This has been ongoing for some time, Additionally, fi he gets short of breath when he
lies on his stomach, but. not when he Nes on his back. ‘He does nat have any significant edema, He denies orthopnea.

“OF note, he does have a mediastinal mass. It has been poorly characterized from reports available, Most recent imaging was fram
10/2014 and suggested it was about 6 cm x 3 cm with possible mass effect on the left ventricle. It had been Stable in size anc did
-not appear malignant on PET scanning, but it has not been more fully characterized. He has also had problems with 4. pylori in
the past, He is on Coumadin for prevention of LV thrombus, given an apical aneurysm. However, he has never been on aspirin.
due to problems with stomach upset fram H. Pylori in the past, :

: AM these problems are chronic There do not seem te be any acute changes.

PHYSICAL EXAMINATION: Temperature i is 96, 2 degrees Fahrenheit, blood pressure 120/82, pulse | 63, respiratory
rate 16, oxygen. saturations 98%. HEENT: Pupils are equal and round, ‘Extraocular movements are intact.
Oropharynx is clear.with moist mucous membranes. Neck: No JVO or bruit bilaterally. Cardiovascular: He has got a
tegular.rate and rhythm with.S1.andS2, No murmurs, rubs, of gallops. _tungs: Clear to auscultation bilaterally.

". Extremities: No oubbing. cyanosis, or edema.

 

AMPRESSION; : ao Oo.
‘1, ° Coronary artery disease, He does have a history of coronary disease, His most recent LDL was 145, but he admits he was -

_. not on a statin medication at that time. He has since restarted taking atorvastatin 80 mq daily, He needs to have his LDL -

... rechecked to see if this needs to be titrated. ‘He Is not currently on aspirin, That is currently appropriate, as he needs to ~

"have a GI evaluation for H. pylori, T would recommend he follow up with GL, both for his H. Pylori and for a hernia fo see f

. it needs. to be repaired. 1 would like GI te clear him for aspirin therapy if possible. ao

-2, Congestive heart failure. He has systolic heart failure. He has a defibrillator in place, which is appropriate for primary

Loe prevention. He appears euvolemic, He is on beta-blocker and ACE Inhibitor, ‘No medication changes are necessary for this.

: 3... Episodes of SVT. He is not being shocked for his episodes of SVT, but I do not know if they have been fully evaluated. 1

. -would racommend an EP consult to see if SVT is something that can be treated | more aggressively, elther through :

a antiarrhythmic medications or through ablation,

Al Mediastinal mass. He has; a mild symptom, of shortness of breath, which is worse when he i is eying on his stomach. He c has

or
Page 2 of 2
Name: -. Martin, Robert Earl

_ |» got & poorly characterized mediastinal mass. Ido worry about mass-effect on the heart from the mass in his mediastinum,

*. «This does need ta be more fully evaluated, The most efficient way to evaluate this is likely be a cardiac MRI, which need te
'., be performed at Duke. That would give an opportunity to more fully characterize the mass and see if there is any kind of . °

Mass effect on the heart that contributes to-his symptom complex, 0 Or

 

 

 

re Eric Moore MD

 

 

Electronically Signed 01/06/2016 11:16

 

Job No; 244844

 

 
 

 

' RADIOLOGIC REPORT

 

 

 

_ U.S. DEPARTMENT OF JUSTICE eo FEDERAL BUREAU OF PRISONS
. [Patient Identification: =]
| Name, Reg #, Date of Birth, Institution | me i nee Exams) Requested
_ | MARTIN, ROBERT EARL be oe Unit FI. - oy a cr chest Adamant with.
| Reg. # 39869-066 oo 2 oe Contrast. :
_ | DOB: . 06/14/1954 fees Requested By: .
FoI2 |_| Patrick Craft, MD _ .

 

Reasons for study/Provisional Diagnosis as per Refering C Ciclan ner request fom)
Chest mass and pancreatic lesion. De -

 

 

- Date of Study: OS Date of Dictation: Bo Dictation wn Received: Siciation Transcribed:
02/19/2014 04/19/2014 ay i9/2014 — | 02/20/2014

 

 

 

 

 

 

"Sensitive b but Unclassifi ed.

TECHNIQUE: Multiphaste imaging of the pancreas. 75 mb Isovue-320 intravenously. Contras dose oe

| - reduced, for creatinine 15, GFR 56. Oral contrast.

| CONTRAST: 75 mL Isowue-320 intravenously.

. COMPARISON: Terre Haute Foc CT abdomen and chest dated 497220, but images are not available oe
for direct comparison. , .

Chest cr - imaged portions of the .e distal trachea, as well as right and left mainstem bronchi are patent.
There are numerous areas of focal lucency distributed throughout the lungs, though more prominently in
the lung bases. On some views, there is suggestion of slight ' wail thickening raising the question of cystic,
"Jung disease, although bullae are more common. Bilateral pulmonary densities consistent with scarring
and/or atelectasis a are noted, this is most prominent in the right middle lobe inferiorly... me

op mediastinal 1 mass is present, interposed between the posterior wall of the left atrium. and the anterior
"aspect of the spine. The mass is in broad contact with the thoracic esophagus, although there is no - Se
~ esophageal dilatation identified above this level, The mass. abuts the azygos vein and the posteroinferior ce

 

 

- aspect of the right hilum. Mass measures approximately 4.9.cm AP x 5.6 cm transverse. This is of concern - ae

for neoplasm. It is also in broad contact with the inferior surface of the carina and both » proximal,
mainstem bronchi a . - Des poe

- sewhere, no mediastinal or hilar rosea sere sr ie npn in the axilla. os

OA smal hiatal hernia is present.

. Signature; oh

 

: Abdomen cr- Pre-contrast images, demonstrate 1 no ‘abnormal calcification awithin the pancreas. Amassis ran

= present immediately adlacent to the anterior, Inferior aspect of the pancreatic! head and appears | in

 

ag . oe fay! 1 Location 1 of Radiologic Fact
Ssh | Butner a

 

 

 

os SAMUEL N. BONE, I, M.D. oo
“bo No: 467281 wm ost - Page 1 of 2
 

_ CONSULTATION REPORT .

US. - DEPARTMENT OF JUSTICE : oe od “FEDERAL BUREAU ¢ OF. PRISONS ae

 

Name: Martin, Robert Earl ys Se NSPS Se a
Reg. #: 30869-0660 | Referred By: BUTNER FC]
DOB: DSN, ne oe ~ | Attending: MOORE, ERIC.

 

 

 

 

CHIEF COMPLAINT: Coronary artery disease.

 

 

T Bate, of Visit. | Dictation Received: mo ; 7] Dictation Transcribed: -

 

 

 

 

 

“| o105/2016 04/05/2016 9470872016
ee 7 es _ Sensitive but. Unclassified
CONSULTATION .

HISTORY. OF.PRESENT. ILLNESS: Mr Marin has a history of ischemic cardiomyopathy. He had an Mi, apparently oo

in the mid 1990s. |.do not have a cath report, but most recent echocardiogram was done in 11/2015, that was
‘consistent with LAD territory infarction with an n sjection fraction of about 25%, He also had a mild pulmonary
hypertension at thet point in time. :

He also has @ history of dysthythmia. He has a 5 defibriiator | in in place for what was termed runs of nonsustained \ ventricular
tachycardia. After placing the defibrillator, he was shocked 30-40 times for what appeared te be supraventricular tachycardia, The

~ ‘Settings on his pacemaker weré changed and he has not been shocked since, but the pacemaker continues to show bursts of SVT...
’ He has received antitachycardia pacing for these bursts, of SVT, though it has nat t progressed to the point v where he has gotten ,
shocked, , : . .

He reports problems with exertional dyspnea. This has been ongoing for some s time. Additionally, he gets short of breath when he
Bas on his stomach, but not when he ties on his back, He does not have any significant edema. He denies orthopnea.

-Of note, he does have a mediastinal mass. It has been poorly characterized from reports available. Most recent imaging was from

10/2014 and suggested it was about .6 cm x 3 cm with possible mass effect on the left ventricle. It had been stable in size and did

" ‘not appear malignant on PET scanning, but It has not been more fully characterized. He has also had problems with H. pylori in
the past, He Is on Coumadin for prevention of LV thrombus, given an apical aneurysm, However, he has never been on aspirin

“due to problems. with stomach upset from H, Pylori in the past. . : -

oe All these problems are chronic There do not seem to be any acute ‘changes. .

“PHYSICAL EXAMINATION: Temperature i is 96. 2 degrees Fahrenheit, blood pressure 120/82, pulse 63, respiratory
vate 16, oxygen saturations 98%. HEENT: .Pupils are equal.and round. Extraocular movements are intact. :
““Oropharynx is. clear with moist mucous membranes. Neck: No JVD or bruit bilaterally. Cardiovascular: He has gota a.
‘regular rate and rhythm with S1.and $2. No murmurs, rubs, or F gallops. ‘Lungs: Clear to auscultation bilaterally,

. Extremities: No clubbing. syanesis, or edema.

IMPRESSION: wip path! : - : .
> 4.) Corenary pitery disease, He does have a history of coronary disease, His most recent LDL was 5 145, but he admits he was
| > pot on a.statin medication at that time. He has since restarted taking atorvastatin 80 mg daily, He needs to have his LDL |
- rechecked te see if this needs to be titrated. He Is not currently on aspirin, That is currently appropriate, as he needs to. -
‘have a GI evaluation for H. pylori, T would recommend he follow up with Gi, both for his H. Pylorl. and for a hernia to see if

"o> “it needs.to be repaired. ‘I would like Gi to clear him for. aspirin therapy If possible, mee
2, _. Congestive heart failure. -He has systolic heart failure. ‘He nas a defibrillator in place, which is appropriate for primary
7 prevention. He appears euvolemic. He is on beta-blocker and ACE Inhibitor. No medication changes are necessary for this.
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“would recommend an EP consult to see if SVT Is something that can be treated more aggressively, elther through :

oo antlarrhythmic medications or. through ablation. . :

a: Mediastinal mass. He has a mitd symptom. of shortness of breath, which is worse when he i laying. on his stomach, He has :
 

ie re : - EXHIBIT3: 7 os
“N ews Article: J udge Norma I ‘Shapiro’ S Opinion at Sentencing”
fo:Whom it may concern.Please,I need.
your help to prove my innocence of —
arm bank robbery.Criminal No:98-178,
T was wrongly accused of robbing a ao
bank on March 6th,1
However, I was 5s
the Federal Government,
acccdental homicide of

dating back to

ignaled out by .
"to ‘revenge. an
fa white female
1973"...: Une ee
cs The revenge became, |
Government referred .
fon case in her opening |
the "glove ‘scenario".T ~

apparent.when the.
to the O.J.simpson
argument ,using—
fair trial, PA LA
ae ~The evidence in this case...
consisted of ‘reportedly clear bank
surveillance photographs,and three
witnesses.An expert for the -defense
testified that he could not make a.
positive identification; based on the.
surveillance photographs,and my arrest-
ing photograph. es
ma - As well,The Court. ruled
that the eyewitnesses identification |.
of the robber was equiveal. ee
oS : To get this

knew right then that i would not get a ~

conviction,The Government
the evidence,and vouched for the witness
credibility, “without any objection by
Tn the Government —
~losing argument,She assured the Jury

nake -a positive identification,coupled
vith those facts,My own trial counsel.
lid serious harm to my case. when he
‘elicit from ‘a Police Detective an” «=
.npermissible identification,and then
‘licit an inadmissible out-of-Court..
dentification from the same-Police
etective of a none testifying witness
hat sealed the deal for the prosecut-
OM
' It is reasonable question as to
overnment followed suit. throughout my
rial,as well as all of my appeals. 7.

that the photographic expert did infact :

hether or not,The constituents of the ~

 

or ‘more ‘information ; contact | me at : -
i Mr Robert. Earl: Mart in, 39869-0688.

  
 
 

 

 

 

ou for. your appreciated concern. |

en “ - eee a . . -

SS"sn philadelphia, ow =
— Wifetermfor

By IM SMITH
 Sinithim@phillynews.com =

aa

misrepresented

-- 's said, a , Li,
--:. The judge complained aloud]:

'.bery of $6,694 fram the United }
Bank branch on Girard Avenue

- no one was hurt fortunately,” the

|, -A1998 conviction for an armed| |

. Martin's third “strike,” coming 10 {°
years after an earlier armed bank f

a y —_ | "robbery, and nearly 25 years after

__L, Shapivo had no choice yester-
. day but to imprison Martin, 46,
“for life.

_. Under a federal “three strike”,

' Jaw passed in 1994, a defendant

- -convieted of “a serious violent fal-}/—

_ ony” raust be sentenced to life in

o Martin committed all three

_) During ‘the robbery “Martin
_ . placed his shotgun to the head of |
~-asecurity guard and foreed her in-

- ers may have been “terrified”: by

‘judge added. -

‘for a prison term in the 20-year.

. thorities to use the federal courts

 

 

bank robbery was Robert Earl {|

 

 

-abarroom murder Pec bs
So US. District Judge Norma

   
  

Robert Martin: Bank rob si _ .

RIFE
| Continued from Page 27 4

 

 
   
  
  

prison if he or she has two prior jor dniurder was inadequa
“strikes”.— that is, convictions ’ ;

for violant crimes, |

crimes sald to Assistant US. A

with a shotgun, police | Mary Crawley. CS
: The judge“s words did:
‘that a life sentence was too harsh fi nied me the enn vho. de-
by three eyawitnesses a1
surveillance photographs of him
carrying a shotgun ‘ingide ‘the .°.:
bankthatday. 9°. es

 

 
 

near 29th Street,

‘to the teller “Area, where ‘he erest of his life “to revettae” tha
Brabbedthemoneyand fied, | igre smurder of asec 'Diane
-. Bank employees and custom- 4 .
near Lehigh Avenue, ae eee
' Then 18-years old, he’digone to .
{the bar loalking to shoot feo

the shotgun-wielding robber “but

‘else and shot. her. by. accident

Sentencing guidelines ‘called. when someone hit

range, and that would have been. judge. oe a
“more’ than adequate”. ta cover | “T didnt commit that] murder

_ the bank robbery, Shapiro said. purposefully,” Martin! ;

-. “t's questionable social policy,” - plained. 0

 

she sald ofthe threé-strike law. fl" ‘The. victim“s husban was ir
The judge also ‘said. it -was veste

“wrong” of law-enforcement. au-. speak afterwards, J |
Martin's second strike waa <

1988 ‘conviction for rpbbing <

jbank in Goldsboro, N:

|to an eight-year prison term, °°.’

~ | Defense attorney Jeff ° ts) =
‘|Isaid Martin wouldapp.

to put Martin away for life for a
-bank - robbery because - they
“think” the seven years he served.

 

See LIFE Page 29

 

 

 

“You didu't like the state sen.
tence [for the murder],"tihejudge | -
ttorney cet

little to. .
hd bank —: oa

Martin, a barber, coniplained
that -he was being put ih] jail for. ©:

Miller inside a bar on 2in Street | .

hit his Ishotgun. |.
with a barstoo!, Martin told the 3
“com.

court yesterday but deplined te

that lee <2.
 

EXHIBIT:

Affidavit of Responsibility” =
 

 

Myn name. is ; Chris A Leonard, and i am nthe sister of Mr, Robert Earl martin, | never had to write to ae
Judge before, ‘but fam writing to you because | understand that my. brother filed a Motion Requesting a

 

; Compassionate Release because of his Medical condition and the Covid- 19. Robert Earl Martinis a good . .

a brother, A good man anda good father to his children. he asks them: every time he, calls me My mother
Rose L Martin had. 9 children and she had. to rise us up alt by herself.” ee a

‘our father passed away when: we were litle and our baby. brother was s 6 months old, iam n asking you to >
., please do not let my brother die in prison. | know he has learned his lesson after all the time he has.

spent tn.prison. |.know he do not want to go back anymore, and he knows that he will go back if he does Le :

“not do what is right. Robert Ear! has 6 children’s that has their own children $ which i is his grand

_ children's and has some grate grandchildren’ $ that he never seen as well. And some nieces and nephews
‘and their children's he has not never seen. Judge Kearney Piease have mercy on my brother. and let the |
‘Martin family have him back so.we can enjoy what time he has left, and all our children c can get to know
him. We can get him to. a good doctor's so he can get him better.” ce oe

‘My brother Earti is sick andtam overly concerned about the sickness he has now with all this Covid-.19
going on. Judge Kearney my brother Robert Earl is not a danger person to.anyone out here he cannot .
get around good anymore. When he goes to the doctor, | will be right there are one of our brothers.
Please give my brother another chance for the Jast time. | am praying for him to get another chance that
God Almighty will help bring my brother back home. He will be living with me his sister Chris A Leonard
‘at my home at 321 Hopesway Drive, Dudley North Carolina, 28333. i have b been living | here since 1990. |
own Ty home. :

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rs, chris Leonard 1 Gre pet Lf ae phe JED AL.

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dis cotta di : yo Foe ah fy yt be,

Ye y oF HEI SS Fhe oh? es 1 Poe ig Be Bef
 

 

October 19, 2020
To Whom Concerned: .

la am writing this letter on 1 behalf of my ‘brother, Robert Earl Martin, 39869- 066. l am Ricky Lee Martin. L os
want to tell you a little bit about our family history, We were raised by our mother. alone after our father 7
died. when | was six months old. Our mother. did the best she knew how to raise nine children alone. We .
were a close family, and our oldest brother George (Jack) Battle had to quit school i in the 3 grade to.
help her support the family. As we became old enough, we had t to work i in tobacco, bean fields,
potatoes, and cucumber fields to help | her also. ce

Robert Earl is the si child, and he was not a, troubled child, but when he came of age, he moved to.
Philadelphia with a cousin. He was s doing well until he started using drugs, and his life changed.

| believe that Robert Earl has reached a point in life that he knows that he needs to return to the values .
that our mother taught us, Over these last years, he values life now, where he has settled down, and .
that type of experience of using drugs | is over. , a -

I do not believe he wilt return toa troubled life with his medical condition at this point.

Thank | ou,

 

eee
Ricky Lt Martin oO

370 Hopesway br.

Dudley, NC 28333

 

 
 

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Jou.

 

 

 

 

 

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“Siemeinslt™

 

 

 

 

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